 

ase 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 1 of 69

 

ATTORNEYS AT-LAW

 

Nancy Frankel Pelletier, Esq. (413) 732-2304 ext. 142
npelletier@robinsondonovan.com

December 22, 2017
By Electronic Filing and Regular Mail
United States District Court
Attn: Mary Finn
300 State Street
Springfield, MA 01105

RE: Thomas C. Hodgkins, et al. v. Osa Flory, et al.
Civil Action No. 3:17-CV-30173-MGM

Dear Ms. Finn:

Enclosed for filing in the above matter, please find the original certified record from the
Hampden Superior Court in the above matter.

 
 

Very truly yours,
I f ger?
ee LG “es wg fy fc amen
Nancy Frankel Pelletier
NFP/kmm
Enclosure(s)

ce: Nathan R. Lynch, Esq. (electronic)
James A., Snow (mail)
Keith Harmon Snow (mail)
Dawn L. White (mail)

618063

SPRINGFIELD 1500 Main Street, Suite 1600, P.O. Box 15609, Springfield, MA 01115-5609 + T: 413.732.2301 + Fi 413.785.4658
NORTHAMPTON 16 Armory Street, Northampton, MA 01060 + T: 413.587,9853

RobinsonDonovan.com

 

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 2 of 69

COMMONWEALTH OF MASSACHUSETTS
Hampshire, ss Superior Court
Civil Action No. 17¢v174

CERTIFICATION

I, Harry Jekanowski, Jr., Clerk of the Superior Court for the County of Hampshire do hereby
certify that the attached is a true copy of the entire file and docket entries.
Thomas C. Hodgkins, et als
VS.

Osa Flory, et als

Witness my hand and the seal of the
Superior Court Department of the Trial

Court this day, December 19, 2017

   

 

Harry Jékanowshi, Jr. \,
Clerk/Magistrate
CRTR2709-CR V- V-301 7S Ter VASSAGHUSFATA7 Page 3 of 69
HAMPSHIRE COUNTY

Docket Report

  

1780CV00174 Hodgkins, Thomas C. et al vs. Osa Flory As member of Zoning Board of Appeals et al

 

CASE TYPE: Administrative Civil Actions FILE DATE: 11/15/2017
ACTION CODE: E99 CASE TRACK: X - Accelerated
DESCRIPTION: Other Administrative Action

CASE DISPOSITION DATE 12/19/2017 CASE STATUS: Closed

CASE DISPOSITION: Transferred to another Court STATUS DATE: 12/19/2017
CASE JUDGE: CASE SESSION: CivilA

 

 

 

 

 

-> LINKED CASE.

 

 

 

 

     

 

Tickler Description Due Date Completion Date

 

 

 

 

 

   

 

 

 

_ 0
Judgment 11/15/2018 12/19/2017
Plaintiff 656324
Hodgkins, Knowlton J. Nathan R Lynch

Nathan R Lynch PLLC
Nathan R Lynch PLLC

260 March Hill Rd

PO Box 573

Walpole, NH 03608

Work Phone (603) 756-4700
Added Date: 11/15/2017

Plaintiff 656324
Hodgkins, Ill, Robert C Nathan R Lynch

Nathan R Lynch PLLC

Nathan R Lynch PLLC

260 March Hill Rd

PO Box 573

Walpole, NH 03608

Work Phone (603) 756-4700

Added Date: 11/15/2017

Plaintiff 656324
Hodgkins, Thomas C. Nathan R Lynch

Nathan R Lynch PLLC

Nathan R Lynch PLLC

260 March Hill Rd

PO Box 573

Walpole, NH 03608

Work Phone (603) 756-4700

Added Date: 11/15/2017

 

 

 

 

 

Printed: 12/19/2017 12:41 pm Case No: 1780CV00174 Page: 1

 

 

 
HAMPSHIRE COUNTY

CRTR2709-CR ase'Sit seve 301 CONMGRNWIBBETIER MASSA SE71917 Page 4 of 69

 

Docket Report

 

 

Plaintiff
Hodgkins-Birch, Merry

Defendant
Robert Barker As member of Planning Board Town of
Williamsburg

Defendant
Marciana Caplis As member of Zoning Board of
Appeals

Defendant
Charles Dudek As member of Planning Board Town of
Williamsburg

Defendant
Osa Flory As member of Zoning Board of Appeals

Defendant
James Locke As member of Planning Board Town of
Williamsburg

Defendant
Gerald Mann As member of Zoning Board of Appeals

Defendant
Stephen Smith As member of Planning Board Town of
Williamsburg

Defendant
Snow, Harmon Keith

 

Nathan R Lynch

Nathan R Lynch PLLC
Nathan R Lynch PLLC

260 March Hill Rd

PO Box 573

Walpole, NH 03608

Work Phone (603) 756-4700
Added Date: 11/15/2017

656324

 

 

 

Printed: 12/19/2017 12:41 pm Case No: 1780CV00174

Page: 2

 

 
CRTR2709-CR

  

SEX CV-301 PONMUMNWBBE s
RCV IBOLT CR IMMAS SARE SE/2217 Page 5 of 69

Docket Report

 

Defendant
Snow, James A.

Defendant
Stephen Snow As member of Planning Board Town of
Williamsburg

Defendant
Town of Williamsburg Planning Board

Defendant
Town of Williamsburg Zoning Board of Appeals

Defendant
White, Dawn L

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# |Offense Dates | Code Town Disposition Disposition
Charge Date
“OC EVENTS
Date Session Event Result Resulting Judge
FINANCIAL SUMMARY
Fees/Fines/Costs Assessed Paid Dismissed Balance
Total 305.00 305.00 0.00 0.00
Deposit Account(s) Summary Received Applied Checks Paid Balance

 

 

 

 

 

Total

 

 

 

Printed: 12/19/2017 12:41 pm Case No: 1780CV00174 Page: 3

 

 
CRTR2709-CR

   

Page 6 of
HAMPSHIRE COUNTY g of 69

Docket Report

: <CV-301 PO MRERAWE BETH OR iMASSAREY SEA 17

 

 

"| INFORMATIONALDOCKETENTRIES

 

 

 

 

 

 

 

Date Ref Description
41/15/2017 Attorney appearance
ooo ee eeteeeetennee On this date Nathan R Lynch, Esq. added for Plaintiff Thomas C. Hodgkins
11/15/2017 Attorney appearance

On this date Nathan R Lynch, Esq. added for Plaintiff Robert C Hodgkins,
CS LL
11/15/2017 Attorney appearance

On this date Nathan R Lynch, Esq. added for Plaintiff Merry
ooo eee eee en eeeteeneeneeene Hodgkins-Bitc ee cence ee tee ee cece ee ence neeneneenenneneececneeeeneaesans
11/15/2017 Attorney appearance
ooeee eevee eee veeeeeeenneees On this date Nathan R Lynch, Esq. added for Plaintiff Knowlton J. Hodgkins.
41/15/2017 Case assigned to:
oo cee eeneeeete teen es DCM Track X - Accelerated was added on 14/15/2097
AWWAS/2017 Vo Original civil complaint flO cee cee eee cece ee ec eeenee eee nee nseneene
Ww15/2017 2 Civil action cover sheet filed eee ec ee cece eeeet teen nee neeeenaeee
12/18/2017 3 Service Returned for

Defendants Marciana Caplis As member of Zoning Board of Appeals,

Dawn L, White, James A. Snow, Charles Dudek, Osa Florey, and Gerald
ovec eee ves ve eeeeeteneeeeeeneees Mann: Service via certified mail nec eee ee ee eee eeee ene
12/19/2017 4 Defendant's Notice of intent to file motion notice of removal
aoc ceeeeeeteee ene Applies To: Osa Flory As member of Zoning Board of Appeals (Defendant)
12/19/2017 5 Notice of Removal to the United States District Court filed by

Nancy Frankel Pelletier.

Applies To: Osa Flory As member of Zoning Board of Appeals (Defendant)
eee eeetetteeen tS eee epee teen e ee ceeneneeeeeaeee coe ceneeneaneneeneeses
42/19/2017 Case transferred to another court. Certified copy mailed to Atty Frankel

Pelletier

 

 

 

Printed: 12/19/2017 12:41 pm

Case No: 1780CV00174 Page: 4

 

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 7 of 69

Case 3:17-cv-30173-MGM Documenti1 Filed 12/12/17 Page 1 of 4

THOMAS C. HODGKINS, ROBERT C. HODGKINS, IU,
MERRY HODGKINS-BIRCH, AND KNOWLTON J,

HODGKINS, -
Plaintiffs:

VS.

OSA FLORY, MARCIANNA CAPLIS, AND
GERALD MANN, CHARLES DUDEK AS THEY
CONSTITUTE THE MEMBERS OF THE TOWN OF
WILLIAMSBURG ZONING BOARD OF APPEALS,
AND KEITH HARMON SNOW, JAMES A. SNOW,

DAWN L. WHITE,
Defendants

__ UNITED STATES DISTRICT COURT
FOR.-THE DISTRICT OF MASSACHUSETTS _

  
  

a

 

“WESTERN DIVISION
CIVIL ACTION NO.
B:)71-CV-30173-MGmM
|
® «¢
2 »
> Al £
) s85| go lV
) efe3| $8)
) = & ago SBM
) Be oege4e |
) Reese cls
) DESREsES
) Se See gop cy
) SESSS see yl -
) EB 55s" a] |
Bosse de
sesés | (IS
28on0 “|g
NOTICE OF REMOVAL 5 8 1B
=8 ao

 

NOW COME the Defendants, Osa Flory, Marcianna Caplis, Gerald Mann, Charles Dudek,

and.the Town of: Williamsburg Zoning Board of Appeals, by their-attorney,; and: pursuant to 28

U.S.C. § 1441, et seq., and state as follows:

1: The Defendants exercise their rights under the provisions of 28 U.S.C. § 1441, ef seq.,

to remove this action from the Superior Court of the Department of the Trial Court,

Commonwealth of Massachusetts, Hampshire County, in which this case is now

| pending under the name and style: Thomas c. Hodgkins, Robert C. Hodgkins, HL.

Mery Hodgkins-Birch and Knowlton J. Hodgkins v. Osa Flory, Marcianna Caplis,

and Gerald Mann, Charles Dudek as they constitute the Members of the Town of

Williamsburg Zoning Board of Appeals, and Keith Harmon Snow, James A. Snow,

Dawn L. White, Docket No. 17CV00174.

617740

 
617740

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 8 of 69
Case 3:17-cv-30173-MGM Document1 Filed 12/12/17 Page 2 of 4

Page 2 0f 4 ©

. This is an action in which the District Courts of the United States have been given .

original jurisdiction in that it-arises under the laws of the United States as provided in

28 U.S.C. § 1331,

. Specifically, the Plaintiffs, allege violations of their rights pursuant to the First and

Second Amendments to the United States Constitution.

. This action was filed on or about November 15, 2017. The complaint was served by

certified mail to Defendant Town of Williamsburg on November 21, 2017: In
accordance with the requirements of 28 U.S.C. § 1446, this Notice of Removal is

filed within thirty (30) days after ‘the receipt of “the complaint upon the:

aforementioned Defendant.

. Pursuant to 28 U.S.C. § 1446, the Defendants are filing contemporaneously with this

Notice of Removal copies of the following served upon it in this action (attached
hereto as Exhibits A and Exhibit B respectively):
(a) Copy of the Certified Mail Envelope

(b) Complaint; and

. Based on the foregoing, the Defendants respectfully request that this action be

removed from the Superior Court, Department of the Trial Court of Massachusetts,
Commonwealth of Massachusetts, Hampshire County, to the United States District
Court for the District of Massachusetts, Western Division, the District and Division

where the action is pending.

- Written notice of the filing of this Notice will be given to the adverse parties.

. Acopy of this petition will be filed with the clerk of the Superior Court Department,

Hampshire County.

_ All Defendants properly served to date assent to the removal.
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 9 of 69
Case 3:17-cv-30173-MGM Document1 Filed 12/12/17 Page 3 of 4
Page 3 of 4
WHEREFORE, the Defendants respectfully request that this action be removed to this Court

_ and that this Court accept jurisdiction of this action and that this action be placed on the docket

of this Court for further proceedings, as though this action had originally been instituted in this —

Court.

THE DEFENDANTS
OSA FLORY, MARCIANNA CAPLIS, AND
GERALD MANN, CHARLES DUDEK AND
THE TOWN OF. WILLIAMSBURG ZONING
BOARD OF APPEALS,

Dated: December 12, 2017

By____/s/ Nancy Frankel Pelletier

Nancy Frankel Pelletier, Esq., BBO #544402
Direct Fax (413) 452-0342
npelletier@robinsondonovan.com

Robinson Donovan, P.C.

1500 Main Street, Suite. 1600

Springfield, Massachusetts 01115

Phone (413) 732-2301

617740
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 10 of 69
Case 3:17-cv-30173-MGM Document1 Filed 12/12/17 Page 4 of 4

Page 4 of 4

- CERTIFICATE OF SERVICE

I] hereby certify. that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants-on this 12" day of ~
December, 2017. oe

Nathan R. Lynch, Esq. Keith Harmon Snow
Nathan R. Lynch, PLLC . 6 Hyde Hill

260 March Hill Road Williamsburg, MA 01096
P.O. Box 573 a -
Walpole, NH 03608

James A. Snow Dawn L. White

49 Silver Lake Drive . Do 16 Estes Road -
Agawam, MA 01001 - Hancock, MA 01237

(s/ Nancy Frankel Pelletier
Nancy Frankel Pelletier, Esq.

617740
 

 

age 14 oF 69

MGM Document 10 Filed 12/22/17 - P

17-cV-30173-

Case 3

 

 

a 16" bAs0cey
£6°8$

NOR,

HN ‘aT al

S5VL80" ‘bn

 

 

 

ii

oouL

Ea

 

6€010 WW ‘a[|iAuapceyy
Loy XO ‘O'd
Areja1nag — pies] epuarg

 

   
 

80920 HN ‘ajodjeay
E25 X08 “O”d

WANS UPL OF

Me] ye ABUL

JTId HONAT “a NYHIYWN

Teo? O522 goo0 0990 ete

I

I

 

I-)/T:€ asep

 

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 12 of 69

COMMONWEALTH OF MASSACHUSETTS
DEPARTMENT OF THE TRIAL COURT

| ‘HAMPSHIRE, SS. : Fe SUPERIOR COURT
CIVIL ACTION NO. 17CV00174

THOMAS C. HODGKINS, ROBERT C, HODGKINS, III,
MERRY HODGKINS-BIRCH, AND KNOWLTON J.
HODGKINS,

_ Plaintiffs

VS, -

)

)

)

)

)

;

OSA FLORY, MARCIANNA CAPLIS, AND. /)

GERALD MANN, CHARLES DUDEK AS THEY - )

~- CONSTITUTE THE MEMBERS OF THE TOWN OF )

’ WILLIAMSBURG ZONING BOARD OF APPEALS, )

AND KEITH HARMON SNOW, JAMES A. SNOW, )

DAWN L. WHITE, )

Defendants — )
NOTICE OF FILING OF NOTICE OF REMOVAL WITH THE

UNITED STATES DISTRICT COURT

| a NOW COME the defendants, Osa Flory, Mareianna Caplis, Gerald Mann, Charles Dudek,

_ and the Town of Williamsburg Zoning Board of Appeals and hereby gives notice of their filing
- with the United States District Court, District of Massachusetts, Western Division, of their _
"Notice of Removal. Copies of the Notice of Removal and Notice of Electronic Filing are

attached hereto as Exhibit A.

i
tok,

Perm b GG wae
Bab hs Bod AT
, ae hab g
bas
Oe

é
MN ne cig |

610540
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 13 of 69

Dated: December 15, 2017 .

Page 2 of 2

THE DEFENDANTS

OSA FLORY, MARCIANNA CAPLIS, AND
GERALD MANN, CHARLES DUDEK AND
THE TOWN OF WILLIAMSBURG ZONING
BOARD OF APPEALS,

By Wa Qt Mik QaAC
Nancy Frankel Pelletier, Esq., BBO # 544402
Direct Fax (413) 452-0342

npelletier@robinsondonovan,com

David S. Lawless, Esq., BBO # 664754

Direct Fax (413) 452-0370
Robinson Donovan, P.C.

1500 Main Street, Suite 1600
Springfield, Massachusetts 01115

~ Phone (413) 732-2301

CERTIFICATE OF SERVICE

I, Nancy Frankel Pelletier, Esq., hereby certify that on this 15" day of December 2017, I
served a copy of the above upon the parties in. the action by mailing, postage prepaid, to:

Nathan R. Lynch, Esq.
Nathan R, Lynch, PLLC
260 March Hill Road
P.O, Box 573

Walpole, NH 03608

James A. Snow
49 Silver Lake Drive
Agawam, MA 01001

Keith Harmon Snow
_6 Hyde Hill
Williamsburg, MA 01096 ~

‘Dawn L. White
16 Estes Road
Hancock, MA 01237 ©

Subscribed under the penalties of perjury.

610540

Meng ptt Pll oy.

Nancy Frankel Pelletier
|
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 14 of 69 4 !

COMMONWEALTH OF MASSACHUSETTS © >

HAMPSHIRE, SS. _

Thomas C. Hodgkins, Robert C.

Hodgkins MI, Merry Hodgkins-

Birch and Knowlton J. Hodgkins,
Plaintiffs

Y,
Charles Dudek, Gerald Mann, Osa Flory,
and Marciana Caplis, as they constitute

the Members of the Town of

Williamsburg Zoning Board of Appeals,
Keith Harmon Snow, James A. Snow,
Dawn L. White.

Defendants

SUPERIOR COURT |
DEPARTMENT OF THE TRIAL COURT CIVIL
ACTION NO. 17 CV 00174 -

 

 

_ AFFIDAVIT OF SERVICE

17 174

wher

“Le

i » “ an
POPPA.

I, Nathan R. Lynch, Esq. on personal knowledge, depose and say:

|. Lam an attorney licensed to practice in the Commonwealth of Massachusetts,

2. Tam the member of Nathan R. Lynch, PLLC.

3. Lam the attorney of record for the Plaintiffs in the above- entitled matter.

4, [have personally handled the service of documents related to this case.

5. On November 29, 2017, on behalf of the Plaintiffs,

I served the Defendant, Zoning Board of Appeals
for the Town of Williamsburg, Massachusetts with the Complaint in this matter by mailing copies
of same, Certified Mail, Return Receipt Requested , Certificate No. 7017-0660-0000-2250-8091,

 

That the Complaint was served upon the Defendant, Zoning Board of Appeals for the Town of
Williamsburg , Massachusetts as evidenced by the copy of the Return Receipt card which is

_ On November 19, 2017, on behalf of the Plaintiffs, { served the Defendant, Brenda Lessard with

the Complaint in this matter by mailing copies of same, Certified Mail, Return Receipt Requested,

6.

attached hereto as Exhibit 1.
7.

Certificate No. 7017-0660-0000-2250-8091,
8.

That the Complaint was served upon the Defendant, Brenda Lessard as evidenced by the copy of the

Return Receipt card which is attached hereto as Exhibit 1.

1

 
10.

12.

—
On

16.

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 15 of 69

On November 19, 2017, on behalf of the Pla intiffs, | served the Defendant, Chartes Dudek with the

Complaint in this matter by mailing copies of same, Certified Mail, Return Receipt Requested,
Certificate No. 7017-0660-0000-2250-8138,

That the Complaint was served upon the Defendant, Charles Dudek as evidenced by the copy of.
the Return Receipt card which is attached hereto as Exhibit 1.

On November 19, 2017, on behalf of the Plaintiffs, served the Defendant, Gerald Mann with the
Complaint in this matter by mailing copies. of same, Certified Mail, Return Receipt Requested,
Certificate No. 7017-0660-0000-2250-812 |

That the Complaint was served upon the Defendant, Gerald Mann as evidenced by the copy ofthe
Return Receipt card which is attached hereto ag Exhibit 1.

On November 19, 2017 , on behalf of the Plaintiffs, 1 served the Defendant, Osa Flory with the
Complaint in this matter by mailing copies of same, Certified Mail, Return Receipt Requested,

_ Certificate No. 70170660000022508107

That the Complaint was served upon the Defendant, Osa Flory as evidenced by the copy of the
Return Receipt card which is attached hereto as Exhibit [.

On November 19, 2017, on behalf of the Plaintiffs, 1 served the Defendant, Marciana Caplis with
the Complaint in this matter by mailing copies of same, Certified Mail, Return Recei pt Requested,
Certificate No. 7017-0660-0000-2250-81 14

That the Complaint was served upon the Defen dant, Marciana Caplis as evidenced by the copy of
the Return Receipt card which is attached hereto as Exhibit |.

17, On November 19, 2017, on behalf of Plaintiffs, I served the Defendant, James
Snow, with the Complaint in this matter by mailing copies of same, Certified Mail, Return
Receipt Requested, Certificate No. WI70GDUW 2508192
18. That the Complaint was served upon the Defendant, James Snow as evidenced by the
copy of the Return Receipt card which is attached hereto as Exhibit 1,

19. On November 19, 2017, on behalf of Plaintiffs, I served the Defendant, Dawn L.
White, with the Complaint in this matter by mailing copies of same, Certified Mail, Return
Receipt Requested, Certificate No. 7017064).0000250810)
20. That the Complaint was served upon the Defendant, Dawn White as evidenced by the
copy of the Return Receipt card which is attached hereto as Exhibit 1.

On November 19, 2017, on behalf of Plaintiffs, [ served the Defendant, Keith Harmon Snow,
with the Complaint in this matter by mailing copies of same, Certified Mail. Return Receipt

Requested,

[ have not received the Certified Receipt showing Keith Harmon Snow has been served at this
time. Nor have I received back the green card showing service was attempted.

L Nathan R. Lynch, hand delivered a copy of the Complaint to the office of Brenda Lessard on

2

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 16 of 69

November 15, 2017.

Signed under the pains and penalties of perjury, this 13th day of December 2017.

OA

£ y-ai in
“* Nathan RY Lynch, Esq.
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 17 of 69

Exhibit 1

 

7017 DbbO OOOO 2250 8124.

ENDER: COMPLETE THIS SECTION | eee Ce gee SoU K Need ah

 

 

 

 

 

 

 

 

 
z Bz Addfesses :
Date of Delivery

 

 

 

 

 

 

 

 

 

 

 

 

SENDER: COMPLETE THIS SECTION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5 PSN.7630-02-000-908

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 19 of 69

ete

0 2B |

SIV

 
1

—

CIVIL ACTION COVER SHE,

 

 

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 20 of 69

 

 

DOCKET NUMBER

Trial Court of Massachusetts
417 74 i

The Superior Court

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PLAINTIFF(S): Thomas ©. Hodgkins et al. COUNTY
Hamnshire id
ADDRESS: 12 South Street PO Box 626
Williamsburg, MA 03608 DEFENDANT(S): — Brenda L. Lessard, ot al
Keith Harmon Snow, James A, Snow, Dawn L. White
ATTORNEY: Nathan R. Lynch, Esq. Nathan R. Lynch PLLG
ADDRESS: 260 March Hill Road PO Box 573 ADDRESS: Brendal L. Lessard et al141 Main Street PO Box 447 Hayedenville, MA
Walpole, NH 03608 Keith Harmon Snow, 6 Hyde Hill Road, Williamsburg, MA 01096
dames A. Snow, 49 Silver Lake Drive, Agawam, MA 01001,
BBO: - 656324 Dawn L, White, 16 Estes Road, Hancock, MA 01237
TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
CODE No, TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
D13/E99 Laws Chapter 40A Sections 8, 15, 17 A [_] Yes No

 

 

“If "Other" please describe:

 

 

A. Documented medical expenses to date:

2. Total doctor expenses

 

 

D. Reasonably anticipated future medical and hos

F. Other documented items of damages (describe

Provide a detailed description of claims(s):

Signature of Attorney/Pro Se Plaintiff: X

 

C. Documented Property damages to dated o....ccsscscscssssssssseeses

E. Reasonably anticipated lost WAGES .eeesceccscsssesessseeseeeeeccecss..

G. Briefly describe plaintiffs injury, including the nature and extent of Injury:

 

STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff counsel relies to determine money damages. For
this form, disregard double or treble damage claims: indicate single damages. only. ‘

TORT CLAIMS
(attach additional sheets as necessary)

 
 
  

 

 
 

 

J ptal hospital expenses wcnnnnnsnnmnarineietnininiiiiititnintiiieeecc $
$
$
$
$

Subtotal (A): $  _
| ; NOV 5207 |
B. Documented lost Wages and compensation to date ....seecsccssssssssssessseecectec i $
: $
pital expenses oo. eeeccescs $
seevenes fvwdrebadewell fe $ —_———
DOLOW) eseseetessetnsetnerttenetenanenassttnettisstiuanieee tna $
TOTAL (A-F):$
NTRACT CLAIM
(attach additional sheets as necessary)
TOTAL: $

Date: 14/15/17

L/

 

Violation of open meeting law, civil conspiracy

RELATED ACTIONS: Please provide the case number, dase name, and county ofAny related actions pending in the Superior Court.

 

 

i hereby certify that I have complied with req
Rule 1:18) requiring that 1 provide my clients
advantages and disadvantages of the varicu

 

 

Signature of Attorney of Record: X

CERTIFICATION PURSUANT TO SJC RULE 1:18
uirements of Rule 5 of the SupremeJiudicial Court Uniform Rules on Dispute Resolution (SJC
with information about courtconn dAfispute resolution services and discuss with them the

Ss methods fo, lution.

 

 

 

 

 

Date: 11/15/17 |

 

v va 7
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 21 of 69

COMMONWEALTH OF MASSACHUSETTS
1’? 474
HAMPSHIRE, SS. SUPERIOR COURT
oe a DEPARTMENT OF THE
TRIAL COURT CNIL
ACTION NO. CA.

 

 

 

 

Thomas C. Hodgkins, Robert C.
Hodgkins 1, Merry Hodgkins-Birch
and Knowlton J. Hodgkins,
Plaintiffs
Vv. APPEAL UNDER CHAPTER40A
8$§ 8,15,17
Osa Flory, Marcianna Caplis, and Gerald
Mann, Charles Dudek as they constitute the
Members of the Town of Williamsburg
Zoning Board of Appeals,
and
Keith Harmon Snow, James A. Snow
Dawn L. White original appellants pom ae
. PORALS TE ee
J f
Defendants
Po
COMPLAINT

Pursuant to Remand Order in Docket 1580CV00265
FACTS
1, Thomas C. Hodgkins is a natural person with a residential mailing address of

PO Box 626, Williamsburg, Massachusetts and a physical address of 12 South
‘Street, Williamsburg, MA 01096.

Lo

Robert C. Hodgkins, HI is a natural person with a residential address of 1041
Route 63, Spofford, NH 03462.
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 22 of 69

tu

Merry Hodgkins Birch is a natural person with a residential mailing address of PO:
- Box 1003, Jacksonville, Vermont 05342 and a physical address of 771 Hill Road,
- Whittingham, VT 05361.

4. Knowlton J. Hodgkins is a natural person with a residential address of 32 Aldrich
Street, Northfield, MA 01360,

5. The subject property and shooting range is located at 74 Village Hill Road,
Williamsburg, Massachusetts,

6& Subject property is a 100+ acre tract of undeveloped land in the Village Residential Zone.
Parcel extends into the rural zone and is surrounded by residential homes.

_

_ The actual shooting range only takes place on a 9 acre piece of the Hodgkins Family land
_and that piece of land is not ini the current use program. .

8 The 74 Village Hill Road property has been used for target shooting by the
Hodgkins Family as owners since the land was acquired by Robert &
Margaret Hodgkins in 1936. Other users of the land for shooting have been,
friends, police and National Guards for many years, predating the existing

- Zoning Bylaws.

9, {n September of 2011 an appeal was filed by Erica Verillo based on the
Building Inspector's refusal to enforce a complaint relating to the shooting
activity on the property.

10. Erica Verillo prevailed in her appeal against the Hodgkins Family and the
Zoning Board of Appeals 2011 Decision will hereinafter be referred to as
' the 2011 Verillo Decision. A certified copy of the 2011 Verillo Decision is
attached as Exhibit A.

{l. Erica Verillo is now moot to the 2011 Verillo Decision because upon
information and belief she has moved to California.

2. The subject of this appeal is the August 15, 2015 appeal of Keith Harmon
Snow, David A. Snow and Dawn L.. White. This appeal for simplification
purposes will be hereinafter referred to the 2015 Snow and White Appeal.
The Decision from the 2015 Snow and White Appeal is attached as
Exhibit B.

13. Upon information and belief David A. Snow have moved away from
Wuliamsburg and if true are moot to this matter.

 
14.

16.

17
18,

19,

21.

_ appealed from. Hereinafter the new Decision will be ref

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 23 of 69

By Order of Judge A. Richard Carey the 2015 Decision of the —
Williamsburg Zoning Board of Appeals. the 2015 Snow and White - |
Appeal, was remanded back to the Town of Williamsburg and by Court --.
Ordér the October 27, 2017 Decision is now the Decision which is being |

erred to as the
2017 Remand Decision. A certified copy of the 2017 Remanded Decision -

~ is attached as Exhibit C.

The Building Inspector upon investigation in 2011 concluded that the non-
commercial, recreational use of the land as a shooting range did not .
violate the Zoning Bylaw. This conclusion is contained in the 2011 Veritlo
Decision. .

The Zoning Board of Appeals issued a written decision in the 201 1 Verillo
Decision which directed the Building Inspector to issue a cease and desist

_ order directed to the owners of the subject property mandating; (1) the

shooting must return to the pre-2003 patters of usage; (2) use of automatic
weapons shall return to pre-2003 levels: (3) no organized shooting groups
will have access to the property; (4) testing of firearms and instructing or
training in the use of automatic weapons is prohibited; and (5) commercial
activity, and activity related to commercial interests, such as weapon
dealers, is prohibited. See Exhibit A

Each of the above named individuals or entities is a party in interest as that
term is used in M.G.L. ¢ 40A § 11,

Each of the above named individuals or entities is person aggrieved as that.
term is used in M.G.L. c. 40A $§ 8, 17.

The Defendant, Town of Williamsburg, Massachusetts (“Williamsburg”) Zoning Board of
Appeals (“ZBA”), is a municipal board organized pursuant to Mass Gen Laws c. 4] 8 SIA,

The Defendant Town of Williamsburg, Massachusetts Planning Board ("Planning Board") is
a municipal board organized pursuant to Mass Gen Laws. 41 § 81A.

The Defendant, Gerald Man, is a natural person with a business address of 141 Main Street
P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the ZBA for the Town
of Williamsburg, Massachusetts and is named solely in that capacity.
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 24 of 69

The Defendant, Osa Flory, is a natural person with a business address of 141 Main Street,
P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the Zoning Board of
Appeals for the Town of W illiamsburg, Massachusetts and is named solely in that capacity.

The Defendant, Marciana Caplis, is a natural person with a business address of 141] Main
Street, P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the ZBA for the

Town of Williamsburg, Massachusetts and is named solely in that capacity.

The Defendant, James Locke, is a natural! person with a business address of 141 Main Street,
P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the Planning Board for
the Town of Williamsburg, Massachusetts and is named solely in that capacity, oe

The Defendant, Robert Barker, is a natural person with a business address of 14] Main |
Street, P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the Planning

Board for the Town of Williamsburg, Massachusetts and is named solely in that capacity.

The Defendant, Stephen Smith, is a natural person with a business address of 141 Main
Street, P.O, Box 447, Haydenville, Massachusetts 01039 and is a member of the Planning
Board for the Town of Williamsburg, Massachusetts and is named solely in that capacity.
The Defendant, Charles Dudek, is 4 natural person with a business address of 141 Main
Street, P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the Planning
Board for the Town of Williamsburg, Massachusetts and is named solely in that capacity,

The Defendant, Stephen Snow, is a natural person with a business address of 144 Main
Street, P.O. Box 447, Haydenville, Massachusetts 01039 and is a member of the Planning

Board for the Town of Williamsburg, Massachusetts and is named solely in that capacity.

The Defendant, Keith Harmon Snow is a natural person with an address of 6 Hyde Hill
Road, Williamsburg, MA 01096,

The Defendant, James A. Snow is a natural person with a business address of 49 Silver
Lake Drive, Agawam, MA 01001.

The Defendant, Dawn L. White is a natural person with an address 16 Estes Road,
Hancock, MA,

 
32,

34,

is
cA

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 25 of 69

On or about August 15, 2015 Keith Harmon Snow James A. Snow and Deborah LL. White

filed an appeal to the W iNiamsburg Zoning Board of Appeals (ZBA) that the Building

Commissioner for Williamsburg had failed to act pursuant to their request to enforce alleged
zoning violations relating to the Property under the 2011 Verillo Decision. See Exhibit B

On November 5, 2015 the Zonin g Board of Appeals held a meeting and it rendered a
decision directing the Building Commissioner to issue and enforce a cease and desist order
against the Property. ("ZBA Decision) See Exhibit B

The 2015 Snow and White ZBA Decision was filed with the Clerk for Williamsburg
("Clerk") on December 9, 2015, The 2017 Remanded Decision is now by Court order the
document the Plaintiffs are currently Appealing in this Amended Complaint. A copy of the
Order on Remand is attached as Exhibit D,

Keith Harmon Snow, James A. Snow and Dawn L. White are being added to this Amended
Complain. Judge Richard A Carey ruled that Keith Harmon Snow, Robert A. Snow and
Dawn L, White are indispensable parties and the Court Order on Remand gives the

plaintiffs leave of Court to amend.

np

The Plaintiffs were not satisfied with the 2017 Remanded Decision. The language of the
Order on remand states the Plaintiffs may file a New Complaint.

-QUNT ONE

Appeal Pursuant to Mass. Gen. Laws. c. 40A § 17
(As to the Actions of the Zoning Board of Appeals)
Federal and State Preemption of Gun Laws and Regulations

The Plaintiffs hereby specifically re-allege and incorporate by reference all of the foregoing
paragraphs as set forth in the Plaintifts' Complaint and makes them a part hereof.

The Federal and State-Government have a comprehensive scheme for Gun Regulation. The
Federal Government has Statues on all aspects of gun ownership and it has the Bureau of
Alcohol, Tobacco and explosives to enforce the laws and regulations. Massachusetts
regulates guns and shooting quite heavily through the legislature, the Attorney General and
the Massachusetts State Police. The Town of Williamsburg is without authority to regulate
guns and shooting when either the Federal Government has spoken in this area either by
law, regulation or action.
39,

4},

42,

43,

45,

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 26 of 69

While the Hodgkins Family made a procedural and tactical mistake in not appealing the
2011 Verillo Decision the 2011 Verillo Decision is null and void for two reasons. |. Gerald
Mann and the Board acted Ultra Virus in their 2011 Verillo Decision. Reflected in the
minutes of February 7, 2011 is clear lan guage by Gerald Mann stating “Mr. Mann
disagreed with Mr. Mahoney’s interpretation of Chapter 214, Section 7B. He felt that the
legislature gave sweeping immunity of noise levels to shooting ranges under the
provision,” Thus, not only did Mr. Mann and the Board exceed its authority Mr. Mann
knew he exceeded his authority. 2. The Board Lacked Subject Matter Jurisdiction over the
issues contained in its 2011 Verillo Decision and Lack of Subject Matter Jurisdiction can
be raised at this late date, Subject Matter Jurisdiction is lacking in both the 2015 Snow and
White Decision must fail for Lack of Subject Matter Jurisdiction as well as the 2017
Remand Decision for the same reasons,

The procedural process used by the Planning Board was procedurally flawed, did not
comport with the Massachusetts General Laws or Federal Laws and therefore did not afford
Hodgkins Family the Opportunity for a full and fair hearing.

The 2015 Snow and White as well as the 20] 7 Remand Decision of the Zoning
Board of Appeals for Williamsburg exceeds its authority, is arbitrary and capricious,
and/or rests on legally untenable ground.

Louis Hasbrouck, the Building Commissioner for the Town of Williamsburg
admitted in his letter dated August 15, 2015 to Keith Harmon Snow that the Town of
Williamsburg gave no guidance as to what the shooting level at the property was in
2003, what the pre-2003 use of automatic weapons was ok.

The 2017 Remanded Decision attempts to give additional guidance, but it too is
arbitrary and capricious. The 2017 Remanded Decision is even stricter than the 2015
Snow and White Appeal that it replaced and is even more arbitrary, capricious and
vague.

Prior to the 2003 Zoning Regulations the Hodgkins Family shot all lawful guns on
their property anytime of their choosing. There were no restriction as to the type of
guns they could shoot, no restrictions as to the duration of shooting and there only
limitations were those set by the State of Massachusetts and the United States
Government.

There were no Zoning Laws in Williamsburg from the time the family first starting
shooting on their range until the Zoning was enacted in 2003. Thus for almost
seventy years the Hodgkins Family gun rights and shooting rights vested on their
shooting range and land.
46

47.

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 27 of 69

The Decision of the Planning Board for Williamsburg exceeds its authority, is

~ arbitrary and capricious, and/or rests on legally untenable ground because inherent in

the 2" amendment right to bear arms in the Bill of Rights contained in the U.S.
Constitution is the right to practice and train to so as to become proficient and safe
with the arms, T he Board exceeds its authority under this paragraph as well under
Massachusetts Declaration of Rights.

The 2017 Remanded Decision states the 2011 Decision and the 2015 Decision
remain in place with the exceptions of the conditions contained in those prior
decisions which are modified below, In reality the modifications in the 2017
Remanded Decision are a repeal of the 2011 Decision and they will be listed and
compared below. ,

(1) In the 2011 language “The shooting range will return to pre-November
2003 patterns of usage and scale.

(2) The 2017 Remanded Decision states “Shooting on the property will return
to pre-November 2003 patterns of usage and scale which limit the shooting
on the property to the following: a. Shooting may occur only one afternoon
per week, on Wednesday, between the hours of 11:00 AM and 4PM.. b.
Shooting may occur on Sundays between the hours of 11:00 AM and 4:00
PM. c. Shooting may occur on the property on July 4".

(3) Special Condition One of the 2017 Remanded Decision attempts to clear up
the arbitrary and vague and capricious language, but in fact it is now even
far worse. Prior to 2003 the Hodgkins Family shot on their property when
they wanted and with the frequency of their own choosin g. The special
condition must fail because on its face it is not consistent with pre-2003

patterns and scale of usage. The ZBA has picked specific days and times
that shooting is allowed. Prior to 2003 the Hodgkins were not subject to
such arbitrary and tight controls. Further, the State of Massachusetts has
spoken as to what times shooting is allowed and the State Statute Preempts
the time provision in the 2017 Remanded Decision. Special Condition 1.
Must fail on Constitutional grounds,

(4) In Paragraph 2 of the 2017 Remanded Decision the Plaintiffs are precluded
from “No organized shooting groups of a commercial nature. This language
is vague and must fail, No definition of what this paragraph suggests is
given and the Hodgkins F amily is without knowledge as how to comply
with this paragraph. The Williamsburg Police Department use to qualify on
this range as did other departments and such activities is consistent with
pre-2003 levels,
49,

SL.

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 28 of 69

(5) In the 2011 Verillo Decision the Hodgkins property is referred to as a
“Shooting Range” The 2017 Remanded Decision refers to the shooting
range as the “Property”. The Town is being blatantly dishonest in the 2017
Remanded Decision. The 20] | minutes clearly discuss the property as a
“shooting range” and the protections afforded it by Mass General Laws 214
Section 7B. The Towns current position to deny the existence of a “shooting
tange” is arbitrary and capricious. Massachusetts has not clearly defined
what a shooting range is, but since 1936 the Hoddgkins Family has a berm
or backstop at one end where they set up targets and benches chairs and
tables at the other end where they shoot their guns at target. Black’s Law
Dictionary does not define the word shooting range, but the Oxford
Dictionary defines a shooting range as “an area provided with targets for the
controlled practice of shooting”

The Defendant’s should be estopped from asserting the “Shooting Range” is not a
shooting range after they asserted it was a shooting range in their 2011 Decision.

guns were being fired were automatic weapons” The Town is either being dishonest
or it forgot that in the Verillo Decision it stated that “Use of Automatic Weapons
shall return to its pre- November 2003 levels. Therefore it appears the 2011 decision
requiring the Hodgkins use automatic weapons has been repealed, Paragraph 3 in the
2017 Remanded Decision is null and void because the State and Federal Government

The 2011 Verillo Decision, the 2015 Verillo Decision and the 2017 Verillo Decision
all purport to compel the Hodgkins Family to return to pre-2003 levels of shooting.
However the 2011 Decision recognized the Hodgkins F amily used automatic and
semi-automatic weapon and never dictated the magazine capacity or days and times
when shooting was allowed.
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 29 of 69

32. The 2015 Snow and White Decision and the 2017 Remanded- Decision both dictate

. times the Hodgkins F amily can shoot, but the times are different and the 2017. The
2017 Remanded Decision now dictates what Specific days the Hodkins Family Can
shoot, ;

53. The 2017 Remanded Decision has essentially repealed the 201] Remanded Decision

4 = The Hodgkins Family assert the Williamsburg family has no authority to regulate
guns or shooting and Massachusetts General Law 214B Section 78 is controlling on
"their vested rights to shoot on their range.

WHEREFORE, the Plaintiffs request an entry of judgment by the Court,
a. Annulling the Decision of the Planning Board or alternatively; and

b. Granting any further relief that this Court deems just and reasonable.

COUNT TWO

APPEAL PURSUANT TO MGL ec. 40A 8§ 8, 1S, 17
(AS TO THE ACTIONS OF THE ZONING BOARD OF APPEALS)

a

The Plaintiffs hereby Specifically re-allege and incorporate by reference all of the foregoing
paragraphs as set forth in the Plaintiffs' Complaint and makes them a part hereof.

56. The procedural process used by the ZBA was procedurally flawed, did not comport with the
Massachusetts Genera! Laws and therefore did not afford the Hodgkins F amily the
Opportunity for a full and fair hearing.

57, The Decisions of the ZBA exceed its authority, are arbitrary and capricious, and/or rests
on legally untenable ground,

58 The speficicity about the time, date, and types of weapons that can be shot is arbitrary and
capricious and in no way relate to the vested shooting rights that occurred prior to 2003.
None of the requirements in the 2017 Remanded decision were required prior to 2003 and
the Hodgkins Family shot all lawful guns whenever they chose to do SO.
61.

62.

65,

67,

; - 69
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 30 of |

The ZBA in its 2015 Snow and White Decision issued a special condition that shooting .
take place between the hours of 9:00AM and 6:00PM and that shooting not exceed 4
hours on any given day but it has no statutory authority to. make that ruling. Yet in the
2017 Remanded Decision the time has been reduced to | 1:00AM and 4:00 PM. Further,
the days for shooting have been reduced. Clearly the 2017 Remanded Decision is

arbitrary and capricious, In addition, the Board is acting spiteful and it Appears the
Hodgkins Family is being punished for exercising their right to appeal.

 

MGL 131! Section 67 is controlling as to when guns can be discharged in Massachusetts
and it states as follows: “A person shall not use or possess, where birds or mammals are
found, any rifle chambered to take larger than twenty-two long rife ammunition, or any
revolver or pistol chambered to take larger than a thirty-eight caliber ammunition between
the hours of one half hour after sunset to one half hour before sunrise throughout the
year.”

Shooting ona range is not noise pollution or nuisance under Mass General Law Chapter
214 Section 7B which is also controlling in this case. When the Commonwealth of
Massachusetts speaks to an issue by law or regulation the Town of Williamsburg has no

_ authority to regulate in that arca under preemption doctrine,

The ZBA issued a condition that an owner be present on the land during any shooting, but
is has no statutory authority to make such a ruling,

Uhe zoning board issued a condition that permanent hi ghly visible signs indicatin g that
shooting may be taking place shall be posted at each entrance to the parcel, but this is
fundamentally flawed because shooting only takes place on a 9 acre parcel within the 100
acre lot owned by the Hodgkins family. Further, they have no statutory authority to make
that condition,

The Zoning Board of Appeals issued a condition that purports to tell the Hodgkins Family
what weapons they can shoot. The Hodgkins have the ri ght to shoot any guns authorized
by the State or Federal Government

MGL ¢ 140 Section 123 is the approved firearms list. The Commonwealth of Massachusetts
Executive Office of Public Safety and Security has published on their web site their approved
firearms as of 09/2017, The State has ruled on what guns are lawful and the Williamsburg
ZBA is without authority to decide what weapous are authorized on the Hodgkins property.

Guns are regulated by the Federal Government and the Commonwealth of Massachusetts.
When state law conflicts with Federal Law the Federal Law governs by preemption under the
Supremacy Clause of the United States,

The Town of Wi [hamsburg derives its powers to govern from the Commonwealth of

Massachusetts and when State Laws or regulations conflict with town laws the State Law
reigns supreme and preempts the town law or ordinance.

10
68

69.

4),

71,

B.

74,

1.

6.

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 31 of 69

MGL c 140 Section 121 has ruled it is illegal to possess magazines that hold more than 10
rounds, but that pre-ban magazines manufactured before September 13, 1994 are exempt from

’ this restriction. Therefore State Law preempts the ZBA and Williamsburg has no authority to

regulate magazine authority.

Many semi-automatic weapons are legal in Massachusetts and therefore semi-automatic
&

‘weapons are authorized on the Hodgkins property. Williamsburg is pre-empted in all aspects

of semi-automatic weapons.

Massachusetts Public Policy is to promote “gun safety” Upon information and belief a one
day gun safety course is a requirement in order to get a gun license in Massachusetts.
Paragraph 5 of the remanded 2015 decision is pre-empted by the public policy of safety, Any
experienced or inexperienced gun owner benefits if the owner ofthe fire arm instructs a new
user as to how a gun operates. This is a safety issue that Williamsburg cannot deny an owner.

Massachusetts does not prohibit the sale of tannerite or tannerite targets or other forms of
explosive targets. The Williamsburg ZBA is without authority to regulate in this manner.

The Town of Williamsburg issued a condition that the Hodgkins family must “put up red
flags and a red sign” this condition is arbitrary and capricious and the Town is without
statutory authority to impose this condition.

In paragraph 5 of the remanded 2017 Decision the ZBA makes a condition that no testing
or instruction take place on the property. All shooting is testing and instructing. Practice
makes perfect and public policy dictates that if instruction is given the range will be a
safer place. Paragraph 5 is null and void because it violates public police and is arbitrary
and capricious,

The Plaintiffs understand the Town can regulate commerce or require commercial
permits, but finds the 2017 Remanded Decision is vague.

Paragraph 7 of the 2017 Decision is null and void. Tannerite is legal in Massachusetts and
is sometimes used on target. The State and Federal Government preempts explosive
devices and Williamsburg is without authority to regulate.

Paragraph 8 requires an owner be present when shooting takes place. The Federal
Government and the State Government do not require this. The town has no statutory
authority to impose this condition. The Plaintiffs as the property owners have the right to
impose this requirement. but the town does not.

Paragraph 9 imposes the duty to call the Chief of Police prior to shooting. Neither

Massachusetts nor the Federal Government requires this condition and Federal and State
Government preempts the town and the town is without authority to govern in this matter.

11
2B

7.

81.

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 32 of 69

The Hodgkins Family is currently discussing what changes they would like to make to
their shooting range. The Hodgkins will consider the conditions in paragraphs 11-14, but
the ZBA is without authority to impose such conditions because of State and Federal
Preemption of gun laws and regulations. The Board has not sighted its statutory authority
nor has it given its reasons for imposing such conditions. Such conditions are arbitrary,
capricious. .

WHEREFORE, the Plaintiffs request an entry of judgment by the Court,

a. Annulling the Decision of the Zoning Board of Appeals:

 

20017 Remanded Decision is not consistent with
shooting rights which vested prior to 2003a

The Plaintiffs hereby specifically re-allege and incorporate by reference all of the
foregoing paragraphs as set forth in the Plaintiffs’ Complaint and makes them a part hereof,

The current use of the Property by the Hodgkins Family and friends does not constitute a
substantial and material change of use from 2003 or 2011 or from any period that started
from 1936, Nobody on the Board can testify as to what levels of shooting took place prior to
2003 and neither can Keith Harmon Snow, James A. Snow or Dawn L. White.

An actual ad judicable controversy exists as to thy validity of the ZBA’s prior unlawful
rulings. The town will not be able to furnish evidence as to what levels of shooting took
place from 1936 through 2003. The appellants were not even alive in the 1930s and 1940's
and so they clearly have no idea how the Hodgkins Family shot prior to 2003.

The Hodgkins Family asserts they shot all lawful guns on their shooting range whenever
and at whatever time was lawful. They shot guns as a family and individually, What
dictated their frequency of shooting was their financial standing from year to year, Their
work schedules had a factor in their frequency of shooting as well as certain members’ time
away from Williamsburg in service to their Country.

Setting specific times, and days and duration and types of guns is not consistent with the
Hodgkins Family’s lawful usage of their shooting range prior to 2003,

The Zoning Board of Appeals is acting in an arbitrary, capricious manner. Their ordinance
is void for vagueness,

12
8.

87.

%,

91.

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 33 of 69

The Hodgkin Family asserts the ordinance is an attempt by the Town of Williamsburg to
enact Gun Control and that Gun Control when lawful ig enacted by the State of
Massachusetts and the United States Government,

This unlawful ordinance is a failed and unlawful attempt to enact eun control,

The 2017 Remanded Decision is null and void because it is an attempt to define pre-2003
vested shooting rights with precision that never existed prior to 2003, Prior to 2003 the
Hogkins Family rights to shoot on their range vested and they had the right to shoot any da ¥
of the week at lawful times prescribed the State of Massachusetts and they were allowed to
shoot all lawful weapons and use all lawful weapon which at the time exceeded 10 rounds.
Massachusetts Law allows pre-1994 ban magazines to be utilized in Massachusetts

WHEREFORE the Plaintiffs pray this Honorable Court adjudicate all the Prior ZBA rulings
are invalid as to the recreational shooting takin & place at the Hodgkins Family Land and
shooting range.

COUNT FOUR

Due Process Violation
(As To All Defendant's)

The Plaintiffs hereby specifically re-allege and incorporate by reference all of the foregoing
paragraphs as set forth in the Plaintifts' Complaint and makes them a part hereof.

Upon information and belief at or near and during the time the Applications were pending
before the Planning Board and ZBA certain citizens of Williamsburg and other interested
individuals had ex Parte communications with individual Planning Board ZBA members
who were not the chairperson of their respective boards,

At the time the ex Parte Contacts were made, the Planning Board and Zoning Boards were

was acting as a fact finding and quasi-judicial boards with regard to the Applications.
At no time during any public hearing did any member of the Planning Board or Zoning
Board acknowledge he or she had been contacted outside a public hearing by any member of
the public or other interested party,

Upon information and belief, the sole purpose of the ex parte contact was to the interested

parties' position or otherwise attempt to improperly influence the Planning Board or Zoning
Board's decision making process,

13
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 34 of 69

The ex parte contact materially prejudiced the Hodgkins Family in violation of the Due
Process Clauses of the Massachusetts Declaration of Rights and the Constitution of the
United States of America.

Upon information and belief these ex parte meetings are ongoing,

Email evidence and testimony will show that Keith Harmon Snow had a hand in writing the
saine Decision he successfully appealed. U pon information and belief the outcome of the.
appeal was decided by Keith Harmon Snow, The Zoning Board of Appeals and others before
the actual hearing took place:

WHEREFORE the Plaintiffs pray this Honorable Court adjudicate the Zoning Board of Appeals

actions in the 2015 Snow and White Decision and the 2017 Remanded Decision are null and
void and unlawful; Declare that:

a. That such ex parte contact deprived the Plaintiffs of their ri ght to a fair hearing in
violation of the Due Process Clauses of the Massachusetts Declaration of Rights and
United States Constitution : and

b. Enter an Order annulling the Actions of the Zonin g Board of Appeal.

c. Declare that Keith Harmon Snow’s efforts in writing the Decision of his own
appeal was an ex parte contact and was contrary to Massachusetts Law.

COUNT FIVE

Violation of MGL Chapter 214 Section 7B
Shooting on a range is not noise pollution or nuisance
Massachusetts General Law is Supreme over Town
Ordinance

14
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 35 of 69 |

Massachusetts General Law Chapter 214 Section 7B. states as follows: “Notwithstanding the
provisions of any general or special law, rule or regulation to the contrary, no owner of a rifle,
pistol, silhouette, skeet, trap, blackpowder, or other similar range shall be liable in any civil
action or criminal prosecution in any matter relating to noise or noise pollution resulting from
use of the range, provided said owner of the range was in compliance with any applicable noise
control law, ordinance or by-laws in existence at the time of the construction of such range. No
owner shall be liable in any action for nuisance, and no court shall enjoin the use or operation of
said range on the basis of noise or nose pollution, provided said owner was in compliance with
any noise control law, ordinance or by-laws in existence at the time of construction of the range.

The exemption from liability and the immunities from prosecution provided in this section shall

also extend to any owner who, in order to satisfy a requirement of law, regulation or by-law,
relocates his range within. the same parcel of land or a contiguous parcel of land, owned by him
at the time that the Commonwealth or its political subdivision commences enforcement of such
requirement or that the owner voluntarily complies with such a requirement. In order to
maintain these exemptions from liabi lity and immunities from prosecution, owners who relocate
their ranges pursuant to the preceding sentence shall remain in compliance with applicable noise
control laws, ordinances, or by-laws in existence at the time of the construction of the original
range described in the first paragraph. No standards in rules adapted by any state, city, or town
agency for limiting levels of noise in terms of decibel level which may occur in the outdoor
atmosphere shall apply to the Fanges exempted from liability under the provisions of this section
Such ranges shall be prohibited from operatin g between the hours of ten o'clock post meridian
and eight o’clock ante meridian unless otherwise allowed by the local governing body”

The Defendants have admitted the Plaintiffs have been shooting on their family property for
“many years” and the Hodgkins Fantily asserts the family have been active shooters on this
property since 1936,

This shooting range has been in existence since [936 and many years before the Town of
Williamsburg enacted any zoning regulations and thus the Hodgkins Family is and always has
been in compliance with MGL 214 Section 7B.

Massachusetts General Law Chapter 214 Section 7B Preempts any local ordinance as to noise
Of nuisance and therefore the Board has no authority to regulate as to when shooting may take
place on a range, what level of noise is created by shooting on the ran ge. This statute also
states at what times shooting can take place.

The Hodgkins Family asserts that if they are taken to Court in civil or criminal Court they

will assert MGL 214 Section 7B and ask for attorney costs and fees for bringing a frivolous
suit.

15
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 36 of 69

EN me
JZ

Violation of the 1°! and 24 Amendment and Article | and —
17 of the Massachusetts Declaration of Rights
(As To All D efendant's)

100. The Plaintiffs claim that the constraints placed upon them violate their right to acquire
and maintain proficiency in the use of firearms. See Ezel v. City of Chicago, 651 F.3"
. aye “ I SAE
684, 707 (7" Cir, 20] )

101. Plaintiffs further assert such unconstitutional infringements violate their rights to free
speech under both the U.S. Constitution and the Massachusetts Constitution,

102, No Statutory provisions have been Violated by the Hodgkins family or friends and the
- ZBA has failed to cite any authority for its decision,

103.. The Supreme Court recognized the right to keep and bear arms for self-defense under the
2"! Amendment in District of Columbia v. Heller, $54 U.S. 570 (2008) Further, the
Supreme Court extended that protection against state and local government infringement
through the 14" Amendment. McDonald y. City of Chicago, 561 U.S. 742. 130 8, 570%

104. Plaintiffs recognize that many people do not like guns, are atraid of guns or believe they
lead to violence, However, such personal beliefs do not hold up to constitutional rights
and are a violation of the Hodgkins Family's right to freedom of speech and freedom of

' €xpression and freedom to assemble.
105. The Hodgkins have been deprived their constitutional rights since 20] | and this is a real
. and substantial taking of Constitutional rights which requires money damages..

COUNT SEVEN

Violation of the Open meeting Laws and conflicts of interest.
107.

108.

109.

110.

UL
112,

113.

114,

Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 37 of 69
See attached Exhibit F Mr. Snow should not be contacting Mr. Dudek in this manner.

An attached email from Keith Snow to Jack Koczela with dates of September 29, 2015 and
September 30, 2015 shows Keith Harmon Snow was involved in writing the Decision that is
the Subject of this Appeal: Exhibit ** states “Dear Keith, Henrietta, Bill, Mark and Mary,
Attached is version 2 of the findings. I have tried to reflect the edits from Mark and Mary, as

_ Well as all of Keith’s comments.” It further states “I would hope before the end of the day.

Need to know if there are any further comments, Thanks, Jack. See attached Exhibit E.
The attached Exhibit F shows an email chain between Keith Harmon Snow, Henrietta Wallace
and Charles and Mary Dudek. Such communications are a violation of the open meeting law
and shows bias towards the Hodkins Family and shows the Zoning Board of Appeals was
rigged, See Exhibit F,

COUNT EIGHT

Civil or Criminal Conspiracy

Keith Harmon Snow had a hand in drafting the Decision that arose from his appeal to the
Zoning Board of Appeals to curtail shooting on the Hodgkins property,

Such actions by Keith Harmon Snow and others was not lawful
Such action by Keith Snow and others was done intentionally,

The actors in paragraph 97 had the intent to cause the Hodgkins family emotional as well as
money damages.

The actors in paragraph 97 had email chains and “community meetings” and discussions that

discussed the Hodgins Shooting Range and manners and methods to deprive the Plaintiffs of
their Constitutional Rights.

17
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 38 of 69

WHEREFORE, THE Plaintiffs respectfully request the following relief:

A,

Dismiss or overrule the 2017 Remanded Decision of the Zoning Board of
Appeals because of lack of Subject Matter Jurisdiction by the Zoning Board
of Appeals based on Federal and State preemption laws of gun laws and
regulation and shooting ranges.

Rule the 2011 Verillo Decision while never appealed is null and void
because the Zoning Board of Appeals lacked Subject Matter Jurisdiction

_ based upon Federal and State preemption of gun laws and shooting law.

Require all Board Members that colluded with Keith Harmon Snow, David
A. Snow and Dawn White be removed from office.

Award Money Damages to the Hodgkins Family that is just and fair.

. Dismiss or overrule the 2017 Remanded Decision case on grounds of Due

Process because of the dirty hands of the Zoning Board of appeals and Keith
Harmon Snow, David A. Snow and Dawn L. White.

Dismiss or overrule the 2017 Remanded Decision on the grounds that the
decision is vague, arbitrary and capricious.

Overrule or annul the decision of the Zoning Board of Appeals because the
Hodgkins Family is shooting on their range in a manner that is consistent
with how they have historically shot with the exception of the past few
years while litigation has taken place .

Respectfully submitted this 15 day of November, 2017,

The Plaintiffs,
By their Attorney,
a ) i

?

a
Nathyf R. Lyneh Vf
Nathan R. Lynch, PLLC

260 March Hill Road
P.O. Box 573
Walpole, NH 03608
Phone: (603) 756-4700
Fax: (888) 766-5601

nate@walpolelaw.com
BBO# 6456324

18
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 39 of 69

CERTIFICATE OF SERVICE

|, Nathan R. Lynch, Esq., of Nathan R. Lynch, PLLC hereby certify that service of Process will be completed
and proof furnished in the prescribed manner.

Respectfully Submitted,
The Plaintiffs’
By their counsel, —

   

Nathat’R. Lynch, Esq,
Nathan R. Lynch PLLC
260 March Hill Road
PO Box 573

Walpole, NH 03608
(603) 756-4700
nate@walpolelaw.com
BBO# 656324

 

19

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 40 of 69

THE COMMONWEALTH OF MASSACHUSETTS
Town of Williamsburg fc ki | a
Board of Appeals a x

DECISION

 
 

   
 
 
 

An appeal froin a ‘deeision of an Official or ‘Board of the Tow nS eee

 

 
 

Building Inspector’ s failure to enforce Section 4.0 of ‘the Wil ial cone Zoning Bylaw, which
prohibits | use of land for any purposes harmful to public he th, safet
reason of. noise fe and other causes, This | is an appeal pursuant to

 

  

Bylaw. as set forth i in his decision dated November 8, 2040, regarding 4 Vi lage Hill Road,
_ Map C, Parcels 89 and 90, owned by Thomas C Hodgkins, Williamsburg, MA, Robert Cc
Hodgkins Ill, Chesterfield, NH, Knowlton James Hodgkins, Deerfield, MA, Merry Hodgkins
Beval, Jacksonville, VT. The appellant does not appeal from the determination that . =
commercial use of the premises would require a special pefmit. Appellant further states
that a change, extension, and enlargement of the non- conforming use has occurred.

Date’ of Application: [ Decem ber 2, 2010
Date of Hearing: _ ~ January 31, 2014
Date of Decision: February 7, 2011

Vote by members of the Board: Gerald Mann -In Favor —
Lisa Berkman - An Favor.
/ Martin Mahoney - In Favor

Findings: -

A. General Findings:

On September 8, 2010, Erica Vetillo of 6 Nichols Road, Williamisburg, through her attorney
Richard M Evans, submitted a request for enforcement of Section 4.0 of the Williamsburg
Bylaws which prohibits use of any parcel, tract or lot “for any purposes harmful to public
health, safety or comfort by reason of the emission of odor, fumes, dust, gas, chemicals,
poisonous fluids or substances, vibration, noise or other cause of danger.” The tract of land
identified in this request for enforcement is 74 Village F Hill Road identified as parcels 89
and 90 on Assessors map C.

On November 8, 2010, the Building Inspector, Louls Hasbrouck in ‘his response to the

 

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 41 of 69

requested enforcement of Section 4.0 of the Williamsburg Bylaws, responded in part, “I do
not consider non-commercial, recreational use of the land as a shooting range a violation
of the Williamsburg Zoning Bylaw and | will take no action regarding that activity at this
time.”

_B. Specific Findings:

74 Village Hill Road is a 100 acre+ parcel of undeveloped land, 1.3 miles from
Williamsburg's village center. The parcel lies within the Village residential Zone and ~
extends into the Rural Zone and is abutted by residential structures. There exists a site -
specific, purpose built, shooting range under the control of the property owners.

In November of 2003, a Zoning Bylaw replaced the former protective bylaw. The Zoning ..
Bylaw created Zoning Districts (Section 2. 0)anda Schedule of Uses (Section 3. 0). Section
3.0 states”Any use not specifically set. forth in this Use Table shall be prohibited, unless.
otherwise exempt from municipal zoning regulations... "A shooting range is not listed and:
therefore is prohibited. The use of the. property i in question is now non- -conforming: ‘under,
Section 12.0 of the Zoning. Bylaw. Section 12.0, a states "Any lawful use or structure that
does not conform to this Bylaw may be continued, but no such non- -conforming t use or | “
structure shall be changed, extended, or enlarged i in any manner, except as provided | in.
Subsections (e) and (f) below. mo

The public hearing to appeal the e Building Inspector’ s decision was held on January
31,2014, where voluminous testimony was heard about the perceived i increase in the
number of days a week the shooting range was used( formerly 1-2, now 5-7) and the |
intensity of gun firings,("sounds like machine guns”, “automatic weapons”, “some type of
cannon”, “explosions”) Abutters testified to being forced to leave their homes on many .
afternoons to seek peace and quiet elsewhere. Thirty three community members testified
about how distressful living near the shooting range had become. Many were long time
residents who contrasted current frequency and intensity with historic activity. We.
received 37 written submissions by abutters and their families complaining about the -
increased frequency and intensity of use of the shooting range. Of note, consistently
_ across the hearing testimony and the written submissions, those affected by the shooting .
activity say that the marked increase has only been problematic for the last four or five
years. Three community members addressed the Board stating that the shooting range. -
was a long standing recreational resource and should remain so. The owners of 74 Village
Hill Road attended the hearing but did not ask to address the Board.

A YouTube video was played at the hearing, showing an organization named Irish Arms,
with a Holyoke, Massachusetts address using automatic weapons on what observers could
clearly identify as the shooting range at 74 Village Hill Road. The Irish Arms: video:
advertised weapon sales ¢ and training instruction

C. Applicable law and decision criteria

-It has been determined that the use.of the property is non-conforming. As a non- ~~
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 42 of 69

conforming use, Section 12.0,a, of the Williamsburg Bylaw, which states “Any lawful use
or structure that does not conform to this Bylaw may be continued, but no such non-
conforming use or structure shall.be changed, extended or.enlarged in any manner, except
as provided in Subsection (e) and (f) below” is applicable. The testimony at the public
hearing clearly identifies marked changes in the frequency of use and the increased
intensity of the shooting sounds issuing from the shooting range. The effects of the
increased frequency and intensity have intruded on the ability of the nearby residents to
conduct their lives in reasonable tranquility.

In Powers: y, Building Inspector of Barnstable (363Mass. 648. 8((1973)) ) the decision of the
court determined that to restrict what is perceived as an increased-use, change or :
extension ofa non-conforming parcel, one, of three tests have to be met.

“The first test is whether the present use > reflects the nature and tse prevailing when the
zoning by-law took effect”

It is the Board' S opinion that there is a significant change i in the nature and use as a 61b
recreational area with a shooting range when the zoning by-law took effect in 2003. The
frequent.use of large caliber automatic weapons did not occur t prior to 2003 nor did use by —
focal and. regional organized Broups.. a

“The second test i is whether there | isa difference i in the quality or character, as well as the
degree, of present use.”
The Board finds that the testimony heard, video evidence presented and written
submissions, clearly describes a difference in the quality, character and degree of present
use, Testimony indicated that the use of the range from 5 to 7 days per week is
significantly different than the occasional weekend use in years prior to 2003. -

“The third test j is whether the current use is different i in kind i in its effect on the

~ neighborhood,”

The Board finds that the increased frequency and intensity of sounds generated by the
shooting range has made outdoor residential activities stressful for the surrounding
residents, frequently driving them indoors or off their property.

Having established that all of the three Powers v. Building Inspector of Barnstable's tests
have been met, the Board may impose reasonable restrictions on the current uses of 74
Village Hill Road, namely, to return activity to the pre-2003 level. oo

Decision of the Board: |

The Zoning Board of the Town of Willlamsburg directs the Building Inspector in his role as
Zoning Enforcement Officer, with the authority granted to him in Section 13.2 of the
. Williamsburg Bylaw, to issue a cease- and desist order ‘directed to the owners of 74 Village

Road, Williamsburg, MA.

The cease-and-desist order shall mandate:
41. The shooting range will return to pre November 2003 patterns of usage

andscale. =... -
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 43 of 69

2. Use of automatic weapons shall return to pre November 2003 levels.
-3..No organized shooting groups will have access to the shooting range.
4. Use of the shooting range, to test firearms, to instruct or
train in the use of automatic weapons is prohibited. ;
5. All commercial activity, including activity related to commercial interests,
. such as s gun dealers, is prohibited.

Appeals from this decision, if any, shall be made pursuant to Chapter 40A, Section 17, of
_the Massachusetts General Laws, and shall be filed within twenty days: after the date of.
filing of the notice of this decision | in the Office of the Town Clerk. . moe ae

Dated this Ath fay of February, 2041 ©

be | WV) A
Aden by ia AOL .
Gerald Mann, Chair, on vbeha of the Board of Appeals

Received and recorded by the Town 1 Clerk aac

 

Town Clerk, Williamsburg, Massachusetts .

~ ay TRUE COPY ATTEST

(Banda =

y page
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 44 of 69

THE COMMONWEALTH OF MASSACHUSETTS

"TOWN OF WILLIAMSBURG | cle
hs ba
E xh \S|

ZONING BOARD OF APPEALS —

DECISION

The applicants, Keith Harmon Snow, James A Snow and Dawn L. White, appeal the Building Inspector's “failure to enforce Section 4.0 of

the Williamsburg Zoning Bylaw, and his failure to enforce the ZBA decision (Verillo) of February 7, 2011."

The subject of this appeal is the property known as 74 Village Hill Road in the Town of Williamsburg, owned by Thomas C. Hodgkins,
Williamsburg, Mass., Robert C. Hodgkins Ill, Chesterfield, N.H., Merry Hodgkins Beval, Jacksonville, Vt, Knowlton James Hodgkins,
Deerfield, Mass.

Date of Application: August 15, 20105
Date of Hearing: November 5, 2015

Date of Decision; November 19, 2015

Vote by members of the Board:

Osa Flory: In favor

Marcianna Caplis: In favor

Gerald Mann: In favor
Findings:

a, Background:

74 Village Hill Road isa 100+ acre tract of undeveloped land, The parcel is in the Village Residential Zone and extends into the rural
zone. The tract is surrounded by residential homes.

The property has been used for target shooting by the owners and friends for many years, predating the existing Zoning Bylaw, An appeal
to the ZBA, similar to the present appeal, was filed on September 8, 2011, by Erica Verillo. That appeal was based upon the Building
Inspector's refusal to enforce a complaint that there was an increase in the shooting activity on the property, both in the frequency of the

firing and the sound level, which included explosions. The Inspector concluded that non-commercial, recreational use did not violate the

Zoning Bylaw.

Following a public hearing during which many nearby residents testified that there was a dramatic increase in the frequency and

intensity of noise from the property, the Board found that one of the property owners was in the business of assembling and selling

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 45 of 69

automatic weapons, and training persons in their use. His business website indicated that the company had the use of a parcel in

western Massachusetts for those purposes.

The appeal was granted and the Board's written decision, annexed hereto, directed the Building Inspector to issue a cease and desist
order directed to the owners of 74 Village Hill Road mandating:

1, The shooting must return to the pre-2003 patters of usage (prior to the enactment of the Zoning Bylaw).

2. Use of automatic weapons shall return to pre-2003 levels.

3. No organized shooting groups will have access to the property.

4, Testing of firearms and instructing or training in the use of automatic weapons is prohibited.

5, Commercial activity, and activity related to commercial interests, such as weapon dealers, is prohibited.

b. This Appeal:

in the instant matter, the Building Inspector received numerous complaints regarding increased shooting on the subject property from
nearby residents. The complaints allege automatic weapon fire as well as explosions. Residents state that this activity occurs nearly
every day and lasts for several hours, denying them enjoyment of their own homes and creating a dangerous condition. It was alleged
that the Building Inspector has not enforced section 4 of the Zoning Bylaw, as there exists a danger to public safety. People use this
property for recreation and travel alongside the shooting area ona dirt road unaware that shooting may be occurring. In a letter to Keith
Harmon Snow dated July 15, 2015, the Building Inspector stated that he visited the property at least 10 times to investigate complaints
that the 2011 decision had been violated. He spoke to one of the owners as well as the police chief and long-time neighbors. The
Building Inspector concluded “the level of activity seems to be in keeping with the 2003 levels as required by the Zoning Board.” This
response is the basis of the current appeal. In responding to this appeal, the Building Inspector commented that the 2011 ruling lacked

specificity, making it difficult to enforce. The intermittent nature of alleged violations added to the difficulty of enforcement.

c. The Site Visit:

Tom Hodgkins, the major property owner, accompanied Osa Flory and Gerald Mann on a visit to the site, The main entrance to the site,
from Village Hill Road, is marked by the parcel number and a “For Sale” sign. There is no indication that shooting might occur on the

site. The area where shooting takes place is several hundred feet from the entrance. Two signs in the immediate vicinity of the shooting
area state that permission of the owner is required and that shooting can only take place in the presence of an owner or the police. Mr.

Hodgkins acknowledged that there are no warning signs on either of the other two entrances to the parcel.No barrier separates the

shooting area from the trail passing through the property.

The property is enrolled in Chapter 61B MGL, which provides a lower tax rate in exchange for permitting public access for
recreational purposes. The permitted purposes include hiking and target shooting. A town-owned conservation parcel and hiking

trail, known as the Breckenridge trail, is nearby and connects to the Hodgkins parcel.

d, The Hearing:
The hearing was continued from the original date due to the request of attorney Jesse Adams, representing the landowners.

However, Mr. Adams did not appear at the hearing nor did he notify the Board of his intention not to appear. Two attorneys

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 46 of 69

representing nearby residents did appear: Alan Seewald for Henrietta Wallace and Charles J. DiMare for the appellants. The

hearing was well attended and did not conclude until everyone who asked to speak was permitted to address the Board,

Louis Hasbrouck, the Building Inspector, stated that he has received 247 complaints since the 2011 decision, many from the
same people. He states that he has investigated each complaint, visiting the premises on numerous occasions, and has not
encountered any shooters in recent years. There were some violations in early years, which were dealt with. There was
conflicting testimony regarding the current level of shooting. Two nearby residents stated that there was another nearby source
of explosions this summer that may have been wrongly attributed to the subject parcel. Others testified that there has been a
significant decrease in shooting since the 2011 decision, and a person who uses the property for dag walking stated it was much
cleaner than in the early years. Several longtime residents complained of automatic weapons being fired for extended periods by
multiple shooters, in contrast to earlier years when firing at targets generally occurred only on weekends with less intense

~ sounds.

In testimony, owner Tom Hodgkins stated that antique military automatic weapons, dating back to WW2 and the Korean conflict,
were fired on rare occasions, He also stated that some persons did call in advance for permission to use the property for shooting,
while others did not seek advance approval. He stated that he knew most of those who use the property and has no objections.

He also acknowledged that hikers often use the trail.

The attorneys for the applicants submitted a recent decision of the Superior Court, Worcester County, David Brown et al. v, Mark
K Leahy, Individually and as Chief of Police of Northborough December 3, 2013, in support af their position that the subject
premises is nota shooting range entitled to the protection of MGL 214, which grants some immunity to range owners. That case
implies that merely calling property a shooting range does not qualify it for the protection afforded by MGL 214. The court noted
that no definition of a range is found in Massachusetts statutes and therefore looked to compliance with safety standards
established by the NRA. These standards include a backstop, baffles to ensure rounds do not stray from the intended path,
warning signs, and a flag indicating firing is in progress. Itis noted that none of these safety precautions were found during the
site visit. - , .

Applicable Law and Decision Criteria:

Town of Williamsburg Zoning Bylaw Section 4 Restrictions

4,0 No building or structure or parcel, tract or lot of land shall be used for any purposes harmful to public health, safety or
comfort by reason of the emission of odors, fumes, dust, gas, chemicals, poisonous fluids or substance, vibration, noise or other

cause of danger.

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 47 of 69

Decision of the Board:

Asa preliminary matter, the Board reaffirms its 201 1.decision, which was not appealed to a court, and is.annexed and
incorporated herein. The Board understands the Building Inspector's difficulty in interpreting and enforcing that part of the 2011
decision calling for a return to pre-2003 levels of use. We agree that, given the circumstances, he has been diligent in pursuing

complaints and attempting to enforce the bylaw and the 2011 decision.

The 2011 decision assumed that the property owners were entitled to the protections of MGL 214.

However, based upon the decision in Brown v, Lahey, we now conclude that the current property and its use do not qualify for
those protections and that MGL 214 is inapplicable to this appeal. Specifically, the Board finds that the property is not a range as
that term is commonly used and understood in light of the analysis in Brown v. Lahey. The use of this property lacks nearly all the
strictures of the use found to be a range in Brown v. Lahey. Furthermore, the sporadic, intermittent use coupled with the lack of
these formalities strongly suggests to this Board that the use of the property for shooting is more akin to an occasional, incidental
use, In other words, the fact that a property owner uses or allows his or her property to be used for shooting for time to time does

not, in the Board's opinion, rise to the level of a grandfathered range subject to the protections of MGL 214.

Notwithstanding the above, MGL 214, if applicable, would only insulate the use of the property as to noise complaints. Here the
complaints and alleged violations go far beyond noise. The Zoning Bylaw protects the public safety, safety and comfort as to
noise and sources of danger. Accordingly, to give the Zoning Bylaw meaning and substance, this Board finds that uses which are
harmful to public safety and comfort by reason of either noise or danger are prohibited.

Furthermore, the Board may consider the permissibility of extensions and changes of nonconforming uses. The Board finds that.
the current use of the property for shooting differs in frequency of use and intensity of sounds than the pre-2003 use. Although
there have been no injuries reported from the shooting to date, we believe that a potential danger to the public exists and the
appellants’ appeal of the Building Inspector's failure to address safety issues is granted. We are required by section.4.0 of the

Zoning Bylaw to address those dangers.

The Board finds that the owners of 74 Village Hill Road have not exercised control over the use of the property and often do not

knaw who may be using the property for shooting at any given time.

The Zoning Board of Appeals has voted unanimously to grant the appeal of the Building Inspector's failure to enforce the terms of
the 2011 decision of the Zoning Board of Appeals and section 4 of the Zoning Bylaw of the Town of Williamsburg. Accordingly
and based upon the above findings, the Board finds that violations of the 2011 decision and the Zoning Bylaw exist. The Board,
therefore, orders that the owners must undertake and maintain the following remedial-action to address noise and safety so that

such qualities of its use are not harmful or less harmful and so as to better harmonize its use of the property with the Zoning

Bylaw.

 

ti
|
|
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 48 of 69

Special Conditions:
. 1, Use of the property for shooting shall only take place during daylight hours, but not before 9:00 a.m. and not after 6:00 pam,
Duration of shooting is limited to 4 hours total on any given day.

2. An owner shall be present during any shooting, as defined above.

3.-Ared flag and visible red sign indicating shooting is currently occurring shall be posted at 100 feet from each end of the

shooting area whenever shooters are present.
4, Permanent, highly visible signs indicating that shooting may be taking place shall be posted at each entrance to the parcel.

5. Use of military style weapons, semi-automatic weapons, or assault weapons capable of rapid firing is prohibited unless said

weapons were manufactured prior to 1953.

This decision is not effective until recorded at the Registry of Deeds of the County of Hampshire and shall be filed within twenty

days after the filing of the notice of this decision in the Office of the Town Clerk.

Appeals from this finding, if any, shall be made pursuant to Chapter 40A, Section 17, of the Massachusetts General Laws,

Respectfully. submitted this g" day of December, 2015..

Abel Mam

Aewrald Mann, Acting Chair,
on behalf of the Zoning Board of Appeals

4
Received and recorded this F day of Decwnbep0' 5,

Brenda Lessard, Williamsburg Town Clerk

“A TRUE COPY ATTEST”

(Grama. Visererd—

3 pages
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 49 of 69

F yhi0
TOWN OF WILLIAMSBURG C.

ZONING BOARD OF APPEALS
DECISION ON REMAND FROM HAMPSHIRE SUPERIOR COURT

The applicants, Keith Harmon Snow, James A. Snow and Dawn L. White (the “Applicants”),
owners of property located at 6 Hyde Hill Road and 84 Goshen Road in Williamsburg, MA
appealed the Building Inspector’s failure to enforce Section 4.0 of the Williamsburg Zoning -
Bylaw and his failure to enforce the decision of the Zoning Board of Appeals dated February 7,
2011 (2011 Decision”) concerning property known as 74 Village Hill Road in the Town of
Williamsburg owned by Thomas C. Hodgkins, Robert C. Hodgkins III, Merry Hodglcins and
Knowlton Hodgkins. On November 19, 2015, the Zoning Board of Appeals (“Board’’) issued a
decision on the Applicants’ appeal (“2015 Decision”),

The owners of the property known as 74 Village Hill Road (the “Property”) appealed the Board's
2015 decision to Hampshire Superior Court pursuant to GL. c. 40A, §§ 8, 15 and 17. By order
dated August 17, 2017, the Court remanded the matter back to the Board for further
reconsidering its grant of an appeal of the Williamsburg zoning enforcement officer's response to
a request for zoning enforcement related to shooting activity on Plaintiffs' Property. The Court's
Order Of Remand further stated that the Board’s decision on remand would supersede and
replace the original decision.

At a properly noticed public hearing held on October 3, 2017, the Board heard additional
testimony and reviewed evidence related to Applicants' appeal and matters to assist in the
clarification of the Boatd's 2015 Decision. The Board closed the public hearing on October 3,
2017 and deliberated at a public meeting held on October 11, 2017. The Board's 2011 Decision
was not appealed and therefore remains in effect except to the extent that this Decision on remand
alters any conditions contained in the Board's 2011 Decision —

Date of Application: August 15, 2015
Date of Original Hearing: November 5, 2015 |
Date of Original Decision: November 19, 2015

Date of Remand: August 17, 2017
Date of Remand Hearing: October 3, 2017
Date of Decision Meeting: October 27, 2017

Votes by members of the Board:
_ Gerald Mann: Aye
Osa Flory: Aye
Marcianna Caplis: Aye

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 50 of 69

FINDINGS:

Backeround

As set forth in the 2015 Decision, 74 Village Hill Road is a 100+ acre tract of land located in the
Village Residential Zone, extending into the rural zone. The tract is surrounded by residential
homes and Town-owned property which is open to the public. The Property has been used for
target shooting by the owners and their friends for many years pre-dating the existing Zoning
Bylaw. All or much of the Property is registered under GL. Chapter 61B, which permits the
Property to be open to the public for recreational purposes. There is no physical delineation
between the portion of the Property where shooting occurs and the remaining portion of the
Property. The Property and adjacent Town Property is open to and used by the public for open
space, walking paths, trails and similar recreational purposes,

On September 8, 2011 an appeal was filed with the Board from the Building Inspector’s refusal
to enforce a complaint that there was an increase in the shooting activity on the property; in
terms of frequency, the nature of the shooting, and the sound level which included explosions,
The Building Inspector concluded that non-commercial recreational use, did not violate the
Zoning Bylaw. Following a public hearing, the Board issued its 2011 Decision, granted the
appeal and directed the Building Inspector to issue a cease and desist order to the owners of 74
Village Hill Road mandating that; 1) the shooting return to pre-2003 usage, 2) use of automatic
weapons shall return to pre-2003 levels, 3) no organized shooting groups will have access to the
property, 4) testing of firearms and instructing or training in the use of automatic weapons is
prohibited, and 5) commercial activity and activity related to commercial interests, such as
weapon dealers is prohibited. The Board's 2011 Decision was not appealed.

Subsequently, in 2015, another appeal was filed with the Board seeking to overtum the Building
Inspector's failure to enforce the 2011 Decision and conditions contained therein. In his denial of
zoning enforcement, the Building Inspector stated that the Board did not provide an objective
way for evaluating pre-2003 levels of shooting on the Property. In their 2015 Decision the Board
attempted to clarify the 2011 Decision, specifically that portion of the 2011 Decision that
mandated that shooting return to pre-2003 levels. After an appeal of the 2015 Decision by the
property owners to the Superior Court, the Court remanded the matter to the Board for further

clarification.

The Hearing

The public hearing was opened and closed on October 3, 2017. Ata public meeting held on
‘October 11, 2017, the Board deliberated and considered further conditions to be imposed upon
this Property. In addition to the testimony summarized below, applicant Keith Harmon Snow
submitted a narrative that was reviewed by the Board. : a

 

As set forth in the 2011 Decision, at the public hearing to appeal! the Building Inspector’s
decision held on January 31, 2011, there was testimony heard about the perceived increase in the
number of days of shooting on the Property (described as occurring 1-2 days per week prior to
2003 but subsequently occurring 5-7 days per week) and the intensity of the shooting (described
as “sounds like machine guns”, “automatic weapons”, “some type of cannon”, “explosions”.) At
the public hearing held on October 3, 2017, the amount of shooting that occurred on the subject -
property prior to November 2003, was clarified. There was testimony that the shooting on the
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17. Page 51 of 69

property prior to November 2003 occurred only one afternoon per week and occurred on
Sundays after Church for several hours and on the July 4th holiday,

In addition, there was testimony at the October 3, 2017 public hearing that prior to November
2003, there was no automatic gun fire on the property and there was no rapid firing of weapons
that sounded as if the guns being fired were automatic weapons. In addition, there was testimony
that prior to November 2003, there were no explosions emanating from the Property.

There was testimony at the J anuary 31, 2011 hearing that the Property was being used for
activity related to commercial interests which was not the case prior to November 2003,

Concerns were raised at the October 3, 2017 public hearing and prior public hearings before the
Board about the safety of residents using the property for recreational purposes at the same time
that there was shooting on the property, It was also noted at the hearing that the property owners
do not reside on the Property, therefore raising concerns as to whether those using the Property
for shooting had the permission of the owners and whether the owners had control over the use
of the Property so as to ensure public safety to all using the Property.

‘Testimony at the prior hearing indicated that persons shooting on the property did not always
seek permission, nor did the owners know who was using the property.

A property owner and his attorney were present at the hearing but did not offerany suggestions
to resolve the issues presented. It was noted that the property owners did not comply with the
special condition requiring a warning sign to be posted at the entrance to the property.

DECISION OF THE BOARD;

The Board votes to-grant the appeal of the Building Inspector’s failure to enforce the terms of the
2011 decision of the Board and section 4 of the Zoning Bylaw of the Town of ‘Williamsburg. The
Board's 2011 and 2015 Decisions remain in effect with the exception of the conditions contained
in those prior Decisions, which are modified as noted below. The Board further orders that the
owners undertake and maintain the following remedial action to address the noise and safety
concerns on the Property, with such conditions replacing those contained in the Board's 2011 and

2015 Decisions:
Special Conditions:

1. Shooting on the property will return to pre-November 2003 patterns of usage and scale
which limit the shooting on the Property to the following:

a. Shooting may occur only one afternoon per week, on Wednesday, between the |
hours of 11:00 AM and 4:00 PM. -

b, Shooting may occur only on Sundays between the hours of 11:00 a.m. — 4:00
p.m.

C. Shooting may occur on the property on July 4%,

2. No organized shooting groups of a commercial nature,

a

3. No automatic weapons or weapons that sound like the rapid fire of automatic weapons,
No semi-automatic weapons that have been modified to resemble an automatic weapon
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 52 of 69 |

shall be used. Any device which attaches to a firearm designed to increase the rate of
discharge or any modification of a firearm intended to increase its rate of discharge is

prohibited

Magazines with a capacity in excess of 10 rounds shall not be used.
No testing or instruction of firearms.

No commercial activity is allowed.

MOD Ww wz

No use of Tannerite or other forms of explosive targets.

Due to safety concerns raised by the shooting on property the surrounding area of
which is open to and used by citizens for recreational use, the following conditions

are imposed:

8. Individuals shooting on the property must be in the presence of either a property
owner or a designee of the property owners who shall have the responsibility of
insuring safe use of the property.

9. The name of said designee shall be transmitted to the Chief of Police and the Building
Inspector at least 24 hours before shooting takes place. The transmittal may be in

electronic form.

10, Post permanent signs at all entrances to the property of potential shooting including
entrances from the street and from Town-owned land and entrances to the shooting area
from the walking trails. Signs shall be maintained and replaced as wear and tear may

require.

11. Post red warning flags and signs within 200 feet of the shooting area to notify the public
that they are approaching the area of potential shooting. The posting would be required to
be on all four sides of the delineated area of shooting near the points of entry to the
shooting area. In addition, red flags shall be posted at these same locations when active

shooting is occurring on the Property.

12, Raise the height of the earthen berm backstop behind the shooting target to 20 feet above
the range surface,

13. Construct a shed from which those firing guns shoot, or construct a baffle at least 6 feet
in height between the shooting area and the path capable of stopping any. misdirected ©

bullet.
14, Post sign with safety rules at entrance to shooting area.

This decision is not effective until recorded at the Registry of Deeds of the County of Hampshire
and shall be filed within twenty days after the filing of the notice of this decision in the Office of

~ the Town Clerk. .
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 53 of 69

Appeals from this finding, if any, shall be made pursuant to Chapter 40A, Section 17 of the
Massachusetts General Laws,

Respectfully pope 27" day of October 2017,
4 LA | LA net

Gerald Mann, Acting Chétr, 7
On behalf of the Zoning Board of Appeals

Received and recorded this 27" day of October 20 17,

Brendo D5 th te

Brenda Lessard, Williafnsburg Town Clerk

“A TRUE COPY ATTEST”
Kressarl_
OS pages
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17. Page 54 of 69

L>

 ATRUE COPY COMMONWEALTH OF MASSACHUSETTS 45 265
TEST

_ RAMP SHE, f Lh, oe SUPERIOR COURT

. BiReg eimnaes Ns C.A. NO. 1580CV00265

CLERK MAGISTRATE

THOMAS C, HODGKINS, ROBERT C,

HODGKINS Il, MERRY HODGKINS-BIRCH, | of +
and KNOWLTON J. HODGKINS, EX ht)
=—

Plaintiffs
Vv.

BRENDA LESSARD, CHARLES DUDEK,
GERALD MASS, OSA FLORY, and
MARCIANNA CAPLIS, as they constitute the
Members of the Town of Williamsbuitg Zoning
Board of Appeals,

. ORDER OF REMAND D

Defendants

 

 

After consideration and at the request of the Town of Williamsburg Zoning Board of Appeals
(the “Board”) in this matter, the Board’s decision issued on December 9, 2015 that is the subject of
this action is remanded to the Board for the purpose of reconsidering its grant of an appeal of the
Williamsburg zoning enforcement officer’s response to a request for zoning enforcement related to
shooting activity on the plaintiffs’ property.

It is hereby Ordered that notwithstanding remand, this Court shall retain jurisdiction of this
matter,

it is further Ordered that the Board shall open a public hearing on the matter within sixty (60)
days of this Order, Said public hearing shall take place in accordance with all applicable provisions
of General Laws c. 40A. A written Remand Decision shall be tendered by the Board within 30 days
of the close of the public hearing. The parties shall notify this Court of the Board’s Remand
Decision within seven (7) days of the decision, The Board’s Remand Decision shall supersede and
replace the original decision.

It is further Ordered that, if the Board’s Remand Decision is satisfactory to plaintiffs, the
parties shall forthwith file a Stipulation of Dismissal with prejudice and without costs within thirty
(30) days after the Remand Decision is filed with the Town Clerk, and no complaint after remand
from the Board’s remand decision shall be filed.

If the Remand Decision is not acceptable to plaintiffs, then a complaint after remand may be
filed in this action by Plaintiffs from the Board’s Remand Decision as provided for under G.L.
c.40A, §17; however, if a separate action is filed under GL, c.40A, §4.then the instant action shall
be dismissed forthwith by the Court, =

   

Date 92/9,
| “Ssszsvareacpin! /

 
 

RE: Draft version 2. Case 3:17-cv-30173-MGM Document 10 Filed “He “0. 55 of 69

To: ‘keith harmon Snow' vam
‘Ce: ‘Henrietta Wallace’ , 'Bill Wallace’ , ‘Mark Koczela’ , 'Mary Alsentzer' +
Subject: RE: Draft version 2 yu

dh

inusth, .

Group is 3 based on your comment earlier on 4. Draft shows “cross out” along with new number. Ee
| believe we should leave it to lawyers to include info about info about large caliber. | get your
point. However, my gut tells me that by being as specific as your list, we are likely to bring the
NRA to the next hearing. No one wants that. Again, | will leave it to Alan and Chuck | think. It’s
going to be extremely difficult to get the restrictions, specific or not. If lawyers want to include a
list, I’m fine with it. | will forward you list as a suggestion,

Sure, re inspector and resolution, but does it make sense to be so specific at this time? Seems
that “directing” the Selectmen to share in a specific way only opens up for argument. Let them
figure it out knowing that the status quo of Williamsburg/Northampton does NOT work.

My plan is to send these documents to the lawyers about 4 pm today. Henrietta, you OK with
that?

From: keith harmon Snow [mailto:keith.harmon.snow@gmail.com]
Sent: Wednesday, September 30, 2015 1:20 PM

To: Jack Koczela

Cc: Henrietta Wallace; Bill Wallace; Mark Koczela; Mary Alsentzer
Subject: Re: Draft version 2

ht SOLUTION FOR SELECT BOARD -- excellent. Might you aslo suggest that the
| Town of Williamsburg return to former arrangement where the Building Inspector /

Enforcement officer (last one was Paul Tacy) for Williamsburg i is shared between
Chesterfield, Williamsburg, Goshen?

FINDINGS:

Large calibers may be UNENFORCEABLE to some degree but we can still Ask for it:

- No black powder weapons may be discharged on the shooting field of the property; —

- no handgun calibers larger than .32 ACP (no .45 cal, .40 cal. .357 cal. .44 cal., .7.62 cal,
9mm etc.)

- no rifled bore weapons larger than .22 Long Rifle caliber

- no ten guage or large smooth bore weapons (shotguns)

- no explosive materials, esp. tannerite or similar, allowed at any time

¥ looks like you have NO GROUPS OF MORE THAN 34 INDIVIDUALS |

I would ask that it be limited to 2-3 max if shooting is occurring or going to occur

file:///C|/Users/admin/Desktop/wallace/explosion/20150930-Re_Draft%20version%202-2987409.html (2 of 9) [3/20/2017 12:28:33 AM]
 

RE: Draft version 2 Case 3:17-cv-30173- MGM Document 10 Filed 12/22/17 Page * 56 69° Ly
¢ Px

\ . Wed, Sep 30, 2015 at 12:50 PM, Jack Koczela <jack@koczela.net> wrote:

Of course, the “Resolution” for the Select board would be AFTER this ZBA hearing and decision. |

just drafted it now while we are all on topic. As soon as you, Bill and Keith give the go ahead, |

will send both documents to both Alan and Chuck. I’d like to do that as soon as possible. Thanks.
Jack

From: Henrietta Wallace [mailto:henniewallace@qmail.com]
Sent: Wednesday, September 30, 2015 12:24 PM.

To: Jack Koczela

Cc: keith harmon Snow; Bill Wallace; Mark Koczela; Mary Alsentzer
Subject: Re: Draft version 2

 

Mark, you have touched on all the pertinent issues of the 2011 ZBA decision in your
findings.

Would presenting the "Resolution" to the Select Board at this time possibly be in conflict
with Allan representing Keith at the ZBA. Alan is the zoning expert.

: Should pass the Resolution by Alan first and get his take on it.

On Wed, Sep 30, 2015 at 10:53 AM, Jack Koczela <jack@koczela.net> wrote:

| Dear Keith, Henrietta, Bill, Mark and Mary,

Attached is version 2 of the “Findings”. | have tried to reflect the edits from Mark and Mary, as
well as all of Keith’s comments. Struggling with the “large caliber” stuff. As Keith says, it’s not
enforceable, so why pick a fight that we are doomed to lose.

Anyway, | would hope to send the draft “Findings” and the draft “Resolution” off the Alan and
Chuck before the end of the day. Need to know if there are any further comments. Thanks.
Jack

From: keith harmon Snow [mailto: keith, harmon. snow@gmail. com]

Sent: Tuesday, September 29, 2015 9:19 PM

| To: Jack Koczela .
Cc: Henrietta Wallace; Bill Wallace; Mark Koczela; Mary Alsentzer
Subject: Re: Draft

Thank you Jack fro taking a stab at this FINDINGS

ivsy comments below.

file:///C|/Users/admin/Desktop/wailace/explosion/20150930-Re_Draft%20version%202-2987409.html (3 of 9) [3/20/2017 12:28:33 AM]
 

RE: Draft version 2 Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 57 of 69

‘DRAFT. . EX h ‘bit k

Requested Findings and Conclusions e Q

.th respect to the matter of shooting at 74 Hyde Hill Road, a matter which is before the
Zoning Board of Appeals, and in the spirit of trying to clarify for the Building Inspector
and the Board desired outcomes on behalf of the appellant and other adjacent and nearby
residents of Williamsburg, we offer the following suggestions for the Board to consider
adopting in support of its 2011 decision and reversion to the 2003 status quo, allowing for
regular and more consistent enforcement of said statute.

1. Occasional weekend use for the discharge of firearms would be allowed. For the sake
of clarity, “occasional weekend” means only 1 or 2 weekend days (Saturday & Sunday).
Thus if shooting occurs on a Saturday, it could occur the following day as well (Sunday).
But then the allotment of 2 days would have been used. No further shooting that month
would be allowed. This is to clarify for all, including the Building Inspector, the
definition of “occasional weekend use” as was practiced prior to 2003.

1. As it stands above, neighbors/abutters cannot plan any events at our homes
_ without the possibility of shooting disturbing us. So, what if we request (and Chuck
had suggested this to Henrietta and I) that the days be DETERMINED IN
ADVANCE and always the same days. Say, on the third Saturday of the month.
from 9AM -12 PM, or the third Sunday of the Month from say 10 AM to 1 PM but
not both days. Chuck also suggested that the ZBA can order that the landowners
put up WARNING signs to this effect:
WARNING!
Shooting may occur on this property from .
2 PM to 5 PM on the 3rd Sunday of the month.

2. No shooting of any kind by any person using any type of firearm should take place at
the property on any weekday (Monday through Friday). This is consistent with pre-2003
practices.

3. No groups of more than 4 individuals, affiliated, related or otherwise, should be
shooting at any time. For sake of clarification and ease of enforcement, this would mean
that no more than four persons could be present on the property while firearms are being
discharged. This is consistent with pre-2003 practices where only small groups of 2-3
 ‘tviduals used the land to discharge small caliber firearms. —

3. The problem is, one individual at present is enough to disrupt our lives. Four is already
a large group -- thats what we had on 6 June. If they are all shooting shotguns, well, thats

file:///C|/Users/admin/Desktop/wallace/explosion/20150930-Re_Draft%20version%202-2987409,html (4 of 9) [3/20/2017 12:28:33 AM]
 

RE: Draft version 2 Case 3:17-cv-30173-MGM Document 10 Filed tele2it7 Page 58 of 69

a lot of noise. And if they shoot any rifle or pistol larger than a .22 who is going to E

enforce? iY ;

‘4. No large caliber firearms or explosives would be allowed to be discharged on the
| property. For clarity, this would mean [ need to complete this ]. This is consistent with
| pre- -2003 practices where it is believed that only .22 caliber and shotguns were discharged.

5, Commercial use of firearms would be prohibited at all times. For clarification, this
would mean that firearm manufacturers, firearm distributors, sales persons, law
enforcement officers, or others involved commercially with firearms (except in their
capacity as private citizens) would be prohibited from testing equipment and or |
discharging firearms on the property. This prohibition is consistent with pre-2003
practices where only recreational shoots discharged weapons on the property.

fe fe fe fe oc ale He oie fe os ois ahs ale ok ok ok ak RR

4. No large calibers means the following are ABSOLUETLY PROHIBITED:

* All Automatic weapons

Any handgun caliber larger than .32 cal (unenforceable)

* any rifle larger than ???? .223 cal? (unenforceable)

SIGH! This is IMPOSSIBLE.TO ENFORCE. :

The loudest disturbances they make.-- the explosions -- are due to .50 caliber, black
powder long guns, and the use of tannerite. However, everything over a .223 is very
loud, by increasing degrees, and a .26-06 or .30-06 or .243 or .270 etc etc are all much
the same once they start blasting away. The .223 (5.56mm) or .308 or 7.62 mm are the
common assault rifle calibers and these are the ones they are firing hundreds of rounds an
hour or % hour. .30-06 is a very very loud discharge.

| They are always going to be trying to deceive us and provoke us -- like Duval did with
| the bird scare cannon. |

5. Robert Hodgkins is a gun dealer. The enforcement officer’s letter of March 2011 says
NO GUN DEALERS -- there is absolutely no difference between Robert Hodgkins as _
-| gun dealer and private citizen. The impossibility of getting any.reasonable behavior out of
| Robert Hodgkins is demonstrated by his dealings with the ZBA in Chesterfield NH, and
that is why I have included the four Chesterfield NH MINUTES OF ZBA meetings over _
...e 6 years in the book I have developed. Robert Hodgkins lies to them and then does
exactly what he pleases, and though they catch him, they operate on the basis of good
faith and find that once he has done something they have “allowed” it and cannot undo it.

file:///C|/Users/admin/Desktop/wallace/explosion/20150930-Re_Draft%20version%202-2987409.html (5 of 9) [3/20/2017 12:28:33 AM]
 

RE: Draft version 2 Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 59 of 69

His second instance of lying is established in telling the Building Inspector (Hasbrouck)
in November 2010 that there are no commercial operations occurring in MASS -- when
we find that the Chesterfield NH ZBA minutes say that ALL TESTIN G FOR HIS

. JSINESS WILL BE DONE IN MASS. .

And, this is why I included in the Book that I gave to Chuck and Alan the Facebook page
I copied from Hodgkin’s or Joe Lococo’s page in 2013 where Lococo says “I flipped off

your neighbor [Snow] up there yesterday” to which Robert H replies “I am not allowed to
shoot there”.

That’s why it was so quiet in 2012 and 2013. — p 7
Robert Hodgkins should not be allowed to shoot here. cr .

On Tue, Sep 29, 2015 at 8:27 PM, keith harmon Snow <keith.harmon.snow@gimail.com>
wrote:
Thank you Jack for the recapping and clarifying

 

On Tue, Sep 29, 2015 at 3:02 PM, Jack Koczela <jack@koczela.net> wrote:
Attorney Client Privileged

“~ per our phone call with Alan and Chuck, attached is a first cut at a “statement of
1uidings and conclusions” for possible use by the lawyers at their discretion and at their
timing discretion during the balance of this effort regarding 74 Hyde Hill Road. Your
thoughts, edits, additions, etc. are welcome. I have no pride of authorship and don’t

| pretend to think that this is the right form of the document.. I hope I captured what was
said on the call and got the gist of the content of what Chuck and Alan were looking for.

Also attached, for later use, is a draft resolution considered for use with the Board of
Selectmen, at the appropriate time. Again, comments, edits are welcome.

To recap for us clients, here are my highlight notes of the call (HW, BW, KHS, JK, Alan
S and Chuck D were on the line). I’ve used editorial license with these notes. Unless -
something is in quotes, it is just my scribbling, not the exact words of the speaker(s).

1. How to respond to request for continuance

a. Alan, Chuck and Henrietta commented that. they had been involved in
-continuances before and that it was not only routine but that boards of this
sort are careful to exhibit “calendar fairness” to all parties, Likely that one --
month would be given to the other side. The attorneys both expressed that

file:///C{/Users/admin/Desktop/wallace/explosion/20150930-Re_Draft%20version%202-2987409.html (6 of 9) [3/20/2017 12:28:33 AM]
 

RE: Draft version 2 Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 60 of 69

they believed the continuance would be granted. Keith noted the Aug 13
date, plus 100 days for Town ZBA to make a decision on the a peal Kel

might be asked to sign an extension to that 1 00 day limit. Ep P (

b. Both attorneys stipulated that from a strategy point of vi Sher would
want Hodgkin’s attorney (Jesse) to have to think on his feet, not ave-30-days
to plan his rebuttal to any arguments we might make.

c. While it was acknowledge that we expected several folks to come to the
hearing to speak on our behalf, having the meeting postponed was an -
unfortunate risk that we might lose their future attendance, but that the pros of
going along with a continuance outweighed the cons. Also, a risk that no
continuance would be granted and we’d be there without both attorneys.
Again, pros outweigh cons. Keith will notify friendly parties that hearing is —
LIKELY to be continued; no promises.

d. Alan will be in the building for another matter on Oct 1, so we have
emergency back up.

e. Agreed that Keith will send email to ZBA (reply all to earlier note from
Hodgkin attorney) that we will not object to continuance and will suggest
several dates (mutually offered by Alan and Chuck as to dates that coincide
with their availability) that our side can meet, BUT WITHOUT - |
MENTIONING THAT WE HAVE COUNSEL involved. —

f. Our attorneys stated that they believed any community comments or
those from abutters would come AFTER both sides had presented their case.

2. Goal of this effort is to revert to 2003 uses: no shooting weekdays, no organized
groups shooting, no commercial uses, no large caliber weapons, and only occasional
weekend use. Clients agreed to draft up a statement of “Findings and Conclusions”

covering these goals and trying to better define them. Jack agreed to make effort at first
“aft, Co

file:///C{/Users/admin/Desktop/wallace/explosion/20150930-Re_Draft%20version%202-2987409.html (7 of 9) [3/20/2017 12:28:33 AM]
RE: Draft version 2C ase 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 61 of 69

3. All parties, clients and counsel, agreed that LHasbrouck is a problem. He lives too

far away, has a different philosophy about his duties to enforce, has other priorities of his

job, etc. Therefore, at the appropriate time in the future we should undertake an effort to
ve the Town of Williamsburg retain its own inspector, rather than contracting with —

_ | Northampton. Even if LH did enforce Williamsburg rules, he has to travel too far and has

. | too many conflicting priorities to be able to adequately do the job. ae

Ei

| 4. All parties agreed that Keith and Henrietta (and Bill) would go together to the hearing

 

for safety sake and to limit possibilities of harassment, etc. And no speaking unless
spoken to. They would leave the hearing together as well.

Hope this captured it all. Good call, overall. Glad the plan is taking shape.

keith harmon snow
USA: +1.413.626.3800

84 Goshen Road
Williamsburg, MA 01096 USA

A participant at the 65th Annual Conference on World Affairs, Keith Harmon Snow is the
2009 Regent's Lecturer in Law & Society. at the University of California Santa Barbara.
Some of his reportage, writings, photography and human rights reports can be seen on the
web sites: Conscious Being Alliance, All Things Pass & Keith Harmon Snow.

 

Save a girl's life!
yw, Stopexcision.net

file:///C|/Users/admin/Desktop/wallace/explosion/20150930-Re_Draft%20version%202-2987409.htm| (8 of 9) [3/20/2017 12:28:33 AM]
Re: Community meethaAB@naid dered 1A bEHE BMGs Mbouk? GFdEAG Bhosle Filed 12/22/17 Page 62 of 69 ©

Subject: Re: Community meeting to share some important ideas aboutt shooting problem
_ From: keith harmon Snow

_ Date: 7/30/2014 7:37 PM . . .

Tc Charles / Mary Dudek" <cmdudek@yahoo. com> Ts Lo |

_ CC: Henrietta Wallace <henniewallace@gmail.com> , bX Vy

- Dear Charles & Mary: : | | | iC
_ Did you forward the invite I sent to anyone?

~ Someone sent it to Mr. Duval. We don't know who, but we have received an intimidating
» communication from them which concludes saying they wish to attend the meeting.

blessings
keith

On Wed, Jul 30, 2014 at 7:24 PM, Charles / Mary Dudek <cmdudek@yahoo.com> wrote:

We may be able to get to the meeting, though not sure since we have an
afternoon concert to attend. If we don't make it would one of you just let us
know what was discussed? We're very interested. (You may want to mention that
we can hear the loud shots as well and live on Old Goshen.)

May & Charles Dudek

Sent from Yahoo Mail on Android

 

From: Henrietta Wallace <henniewallace@qmail.com>;

T o: keith harmon Snow <keith.harmon.snow@gmail.com>;
Ce: Jen Black <jenblack61761@hotmail.com>; Dawn White <dloves2quilt@live.com>:
Susan Snow <snows@sps.springfield.ma.us>; jen drumm <jenndrumm3@gmail.com>;
Collin Black <collinblack@netzero.net>; Farlin Black <farlinblack@gmail.com>; Paige
Bridgens <paigeleh@yahoo.com>; Sharon and Dan Castelli <sharoncastelli@gmail. com>;
elaine hyde <hyde01096@yahoo.com>; laurensalva@aol.com <laurensalva@aol. com>;
ralmonblack@gmail. com <ralmonblack@qmail.com>; Ruth@koczela.net <ruth@koczela,
inet>; Jay Snow <jay@mtisystems.com>; Jay Snow <jay.snow.49@gqmail.com>; Richard
Evans <rmei222@qmail, com>; ssre@crocker.com <ssre@crocker.com>;
greyledge1 @juno. com <greyledge1@juno.com>; John Munroe: <jmunroe475@aol.com>;

Charles / Mary Dudek <cmdudek@yahoo.com>; Deborah Villamia << Gallant a ginal
com>; Mike Connors <conreag@comcast.net>; Chaya Aronson

 

 

 

 

 

file:///C|/Users/admin/Desktop/wallace/names/...%20aboutt%20shaoting%20problem-947796791.html (1 of 14) [3/20/2017 12:31:36 AM]
3:17-Cv-3

Re: Community meeting GS Gate some (riportar ate Mut PRSYm es MoO Filed 12i22it?7 Page 63 of 69

Subject: Re: Community meeting to share some important ideas aboutt shooting problem
From: Charles / Mary Dudek

Date: 7/30/2014 7:24 PM

To enrietta Wallace Pr ro

CC: keith harmon Snow <keith.harmon.snow@gmail.com>

 

We may be able to get to the meeting, though not sure since we have an afternoon concert to
attend. If we don't make it would one of you just let us know what was discussed? We're very
interested. (You may want to mention that we can hear the loud shots as well and live on Old
Goshen.)

Mary & Charles Dudek

Sent from Yahoo Mail on Android

 

 

From: Henrietta Wallace <henniewallace@gmail.com>;

To: keith harmon Snow <keith.harmon.snow@gmail.com>;

Cc: Jen Black <jenblack61761@hotmail.com>; Dawn White <dloves2quilt@live.com>;. Susan Snow
<snows@sps.springfield.ma.us>; jen drumm <jenndrumm3@gmail. com>; Collin Black
<collinblack@netzero.net>; Farlin Black <farlinblack@gmail.com>; Paige Bridgens <paigeleh@yahoo.
cor. , Sharon and Dan Castelli <sharoncastelli@gmail.com>; elaine hyde <hyde01096@yahoo.com>;
laurensalva@aol.com <laurensalva@aol.com>; ralmonblack@gmail.com <ralmonblack@gmail.com>;
Ruth@koczela.net <ruth@koczela.net>; Jay Snow <jay@mtisystems.com>; Jay Snow <jay.
snow.49@gmail.com>; Richard Evans <rme1222@gmail.com>; ssre@crocker.com <ssre@crocker.
com>; greyledge1@juno. com <greyledgei@juno.com>; John Munroe <jmunroe475@aol.com>;
Charles / Mary Dudek <cmdudek@yahoo.com>; Deborah Villamia <dvillamia@gmail.com>; Mike
Connors <conreag@comcast.net>; Chaya Aronson <chaya@purplerosehealingarts.com>;

Subject: Re: Community meeting to share some important ideas aboutt shooting problem

Sent: Wed, Jul 30, 2014 1:45:07 PM

I will attend the meeting and look forward to learning about our neighbors experiences and
opinions.

Best wishes to all,
. Henrietta

On Wed, Jul 30, 2014 at 8:39 AM, keith harmon Snow <keith. harmon. snow@amail. com>.
wrote:

 

Hi Jen & everyone:

file:///C|/Users/admin/Desktop/wallace/names/...%20aboutt%20shooting%20problem-555706035.html (4 of 12) [3/20/2017 12:31:28 AM]
Re: Community meeting Bendre shi G Vapor ahe Le Mou RSSMAA Hath Filed 12/22/ 17 Page 64 of 69

Please note that I have revised the list of addressees to remove several
erroneous ones not part of the issue and have added several other neighbors.

r m happy to facilitate and would welcome anyone else who would like to as well.

1 don’ t think any of us want to "fight" but the Hodgkins refused al attempts to o:
negotiate or for a peaceful settlement (which in the end was achieved through

our efforts) and it seems that Duval is unwilling to listen to any reason. But let’s
hold the intention for ease and gentleness and cooperation.

See you Sunday. F ¢ 2
Blessings a)
Keith

On Wednesday, July 30, 2014, Jen Black <jenblack61761@hotmail.com> wrote:
Dear Keith and Chaya,

Thanks much for organizing this gathering. I plan to be there. Who
will facilitate the meeting?

My hope is that we can be creative in working with both Chris and
the town toward a peaceful, respectful solution to this problem. I
do not wish to engage ina nant with anyone; creating winners

 

I look forward to seeing you on Sunday at 4.

Jennifer

 

Date: Tue, 29 Jul 2014 23: 03: 03 0400

Subject: Community meeting to share some important. ideas aboutt
_ shooting problem

From: keith.harmon.snow@gmail.com

To: happyvalleyg@hotmail.com; ssmith@productgeneration.c com;
henniewallace@gmail. com; Dloves2quilt@live.com; Snows@sps.
springfield. ma.us; jenndrumm3@gmail.com; collinblack@netzero.
net; farlinblack@gmail.com; paigeleh@yahoo.com;
sharoncastelli@gmail com; jenblack61761@hotmail. com;
hyde01096@yahoo. com; laurensalva@aol.com; ralmonblack@gmail.
com; Ruth@koczela.net; Jay@mtisystems.com; jay. snow.49@gmail.

com; rme1222@gmail.com

 

 

file:///C|/Users/admin/Desktop/wallace/names/...%20aboutt%20shooting%20problem-555706035.html (2 of 12) [3/20/2017 12:31:28 AM]
Re: ‘Community meet eS Strare-dorhy eh Mee Mou OGUNE BohOn Filed 12/22/ 17 Page 65 of 69

Hello P 4

Some of the members of our community would like to hold a small -
informal meeting to address the problem of the excessive shooting
_and other forms of harassment coming from 17 Hyde Hill Road in
Williamsburg.

Please join us on Sunday August 3 at 4 pm at the home of Chaya
and Keith at 84 Goshen Road to share your concerns and learn
about strategies that we can implement to attempt to get the Town
of Williamsburg to address this problem in our favor (and reduce or
eliminate the noise and restore our peace and our property

values). We would also like to hear from the closest neighbors about
the problems they have encountered and the responses of Town
Officials.

 

For example, below you will find several articles outlining how
property values elsewhere (not in Williamsburg) declined due to
Close proximity to shooting ranges and how the town assessors
reduced taxes for people in close proximity to the ranges. This
information offers a course of action to be taken for those of us
whose property and/or quality of life is affected by the shooting at
17 Hyde Hill Road.

One of our neighbors has already put this strategy into action with

a formal legal letter to the assessors. On Sunday'I will tell you what ~
has been done, and where the issue stands with the Town, and give .
you a copy of a template letter that you can use for the same
purpose: to leverage the issue by making an issue of lost tax
revenues for the Town of Williamsburg. If all the neighbors nearby
were to do this it would amount to substantial loss of review for the
town all because of the EXCESSIVE shooting by one ‘member of the
community.

 

The decline of our property values is a very real and substantial
problem! (Especially for anyone who might be planning to sell.)

We will also share some insights about the Williamsburg Police
responses to calls, the divisions that appear to exist within the WPD
itself on this issue, the newspaper articles and other things. Other

members of our community will share about some of their
experiences attempting to get the town officials to address this
Problem.

 

file:///C|/Users/admin/Desktop/wallace/names/...%20aboutt%20shooting%20problem-555706035.html (3 of 12) [3/20/2017 12:31:28 AM]
Re: Community meet AS Shard dahy im Obhse ML Mhoul Q4ENg HlohGn Filed 12/22/17 Page 66 of 69

Chris Duval has made it clear that he wishes to purchase the rer s
property that belonged to my mom, Sondra Thatcher, and it occurs

: ‘to me that.his shooting may be part ofa Strategy to get property.

values lower.

It seems that my siblings and I are likely faced with the necessity of
selling the property at 6 Hyde Hill Road, and possibly the property at
84 Goshen Road (and me and my partner and child will then move
away), for several reasons. One, of course, Is that we simply do not
have the energy to sustain another fight (like the previous fight to
bring the Hodgkins range back into reasonable levels of shooting).

However, if we work together as a community we can achieve what |
individuals struggling alone cannot.

Our sympathies go out to Henriette Wallace and Jen Black, two of
Duvals closest neighbors, and to my great aunt Ruth, who is also
quite close, and whose lives are greatly affected by this nuisance.
The shooting is so loud that it has woken up our baby all the way
over at our home across Route 9.

Please join us Sunday.

Blessings
Keith & Chaya

 

Properties near Noonday gun range see values drop ~

"Posted: Jul 11, 2011 11:50 AM EDTUpdated: Jul 11, 2011 11:50 AM
(EDT

 

 

 

 

 

i

é
4

j

 

 

Karl Artmire, co-owner of the
High Noon Shooting Range, takes aim with his .22 caliber

 

 

 

i
‘
i
i

file:///C|/Users/admin/Desktop/wallace/names/...%20aboutt%20shoating%20problem-555706035.html (4 of 12) [3/20/2017 12:31:28 AM]
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 67 of 69

Fwd: please print

Subject: Fwd: please print . FE x hs i +

From: Henrietta Wallace

Date: 9/6/2015 5:24 PM ( |
To: keith harmon Snow <keith. harmon. snow@gmall.¢ com>, Henrietta Wallace .
<henniewallace@gmall. com>

Forwarded conversation
Subject: Fwd: please print

From: keith harmon Snow <keith.harmon. snow@qmail. com>:

Date: Fri, Sep 4, 2015 at 9:30 PM
To: Alan ‘Seewald <alan@paradisecitylaw.com>
Cc: Henrietta Wallace <henniewallace@qmail.com>

 

 

critical documents attached

Be warned: one of Hasbrouck's NOTICE OF VIOLATION PACKETS has a huge document
included which details MGLs about guns that you probably dont want to print

Starting with the APPEAL narrative might be a good place to start
keith

1. 2011 ZBA decision

2. Chesterfield NH ZBA hearing where Hodgkins states all testing will be done at a facility in
MASS (but he told Hsabrouck all testing was being done in Chesterfield NH) (Note section on
how Hodgkins agrees to shoot into rubber trap to contain the lead, a point of concern for ZBA
about lead contamination)

3. Notice of Violation 8-16-2011
4, Notice of Violation 8-17-2011

5. Cease and Desist Order

6. DEP LOG INQUIRY FORM (has Tom Hodgkins statements. tol DEP saying, e. 9. Machine guns oo

used only TWICE A YEAR, and this was 2010)

file: ///C|/Users/admin/Desktop/wallace/shooting/20150906-Fwd_%20please%20print-162796540.html (1 of 3) [3/20/2017 12:21:29 AM].
Case 3:17-cv-30173-MGM Document 10 Filed 1af22il7 Page 68 of 69
Re: MA gun laws Aug 31, 2015 PB meeting

Subject: Re: MA gun laws Aug 31, 2015 PB meeting
From: Charles / Mary Dudek _ i" aw

Date: 9/2/2015 11:35 AM

-.. fo: Henrietta Wallace

Thanks for sending this!
Charles this going to research if gun noise is distinct from other noise...I would. hope not.

Mary

Sent from Yahoo Mail on Android

 

 

From: . Henri jetta Wallace" <hennie iewal allace@gmail COM>
Bate:Mon, Aug 31, 2015 at 11:24 PM
Subject: MA gun laws Aug 31, 2015 PB meeting

this is the gun law that Chris was reading:

-_ttps://malegislature.gov/Laws/GeneralLaws/PartiTl/Titlel/Chapter214/Section7b

Section 7B. Notwithstanding the provisions of any general or special law, rule or regulation to
the contrary, no owner of a rifle, pistol, silhouette, skeet, trap, blackpowder, or other similar
range shall be liable in any civil action or criminal prosecution in any matter relating to noise
or noise pollution resulting from use of the range, provided said owner of the range was in —
compliance with any applicable noise control law, ordinance | or by-laws in-existence at the time
of the construction of such range.

No owner shall be liable in any action for nuisance, and no court shail enjoin the use or
operation of said range on the basis of noise or noise pollution, provided said owner was in
compliance with any noise control law, ordinance or. by-laws in existence at the time of the
construction of the range.

The exemptions from liability and the immunities from prosecution provided in this section ©
shall also extend to any owner who, in order to satisfy a requirement of law, regulation or by-~
law, relocates his range within the same parcel of land or a contiguous parcel of land, owned
by him at the time that the commonwealth or its political subdivision commences enforcement.
of such a requirement or that the owner voluntarily complies with such a requirement. In
order to maintain these exemptions from liability and immunities from prosecution, owners
who relocate their ranges pursuant to the preceding sentence shall remain in. compliance with —
the applicable noise control laws, ‘ordinances or by-laws in existence at the time of the oe
construction of the original range described in the first paragraph. » oo

file: ///C|/Users/admin/Desktop/wallace/shooti...ug%2031_%202015%20PB%20meeting-647793730.html (4 of 2) [3/20/2017 12:21:24 AM]

 

 
Case 3:17-cv-30173-MGM Document 10 Filed 12/22/17 Page 69 of 69
Re: MA gun laws Aug 31, 2015 PB meeting

Subject: Re: MA gun laws Aug 31, 2015 PB meeting a ni
From: Henrietta Wallace . (+ ai |
~ Date: 9/2/2015 1:32 PM | ‘
. To: "Charles / Mary Dudek" <cmdudek@yahoo.c com> oe :

[ just realized that Chapter 124, sect 7A of the above link deals with damage to the -
environment including excessive NOISE.

Damage to the environment shall include, but not be limited to, air pollution, water pollution,
improper sewage disposal, pesticide pollution, excessive noise,

Maybe that is helpful.

On Wed, Sep 2, 2015 at 11:35 AM, Charles / Mary Dudek <cmdudek@yahoo.com> wrote:

 

Thanks for sending this!

Charles this going to research if gun noise is distinct from other noise...1 would
hope not.

Mary

Sent from Yahoo Mail on Android

=
:

 

From: "Henri etta Wallace" <henniewallace@gmail.c com>
Date:Mon, Aug 31, 2015 at 11:24 PM
Subject:M MA gun laws Aug 31, 2015 PB meeting

this is the gun law that Chris was reading:

tps: //malegislature.gov/ Laws/ GeneralLaws/ PartlIl/Titlel/Chapter214/ section7b

Section 7B. Notwithstanding the provisions of any general or special law, rule or
regulation to the contrary, no owner of a rifle, pistol, silhouette, skeet, trap,
blackpowder, or other similar range shall be liable j in any civil action or criminal
prosecution in any matter relating to noise or noise pollution resulting from use of
the range, provided said owner of the range was in compliance with any

applicable noise control law, ordinance or by-laws in existence at the time of the
construction of such range.

No owner shall be liable in any action for nuisance, and no court shall erijoin the*
use or operation of said range on the basis of noise or noise pollution, provided. -
said owner was in compliance with any noise control law, ordinance or by-laws in

file:///C|/Users/admin/Desktop/wallace/shooti...ug%2031_%202015%20PB%20meeting-733023870.htmi (1 of 2) [3/20/2017 12:21:24 AM]
